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     501 East Las Olas Blvd. Suite 200
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     Telephone: (703) 940-3763
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     BROOKDALE SENIOR LIVING INC.
18   BROOKDALE SENIOR LIVING COMMUNITIES, INC.

19
                                       UNITED STATES DISTRICT COURT
20
                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21

22   STACIA STINER, et al.,                            Case No. 4:17-CV-03962-HSG (LB)
23                     Plaintiffs,                     DEFENDANTS’ RESPONSE IN
                                                       OPPOSITION TO PLAINTIFFS’ MOTION
24            v.                                       FOR CLASS CERTIFICATION EXHIBIT
                                                       417-A
25   BROOKDALE SENIOR LIVING INC. et al.,
26                     Defendants.
27

28
           DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                             EXHIBIT 417-A / CASE NO. 4:17-CV-03962-HSG (LB)

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                            SHELDON HOWARD JACOBSON
                              Founder Professor of Computer Science
                          Director, Simulation and Optimization Laboratory
                          Director, Institute for Computational Redistricting
                               Director, Bed Time Research Institute
                               201 North Goodwin Avenue (MC-258)
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                                       Urbana, IL 61801-2302
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                                          twitter: @shjanalytics

SUMMARY
Sheldon H. Jacobson is a Founder Professor of Computer Science, Director of the Simulation
and Optimization Laboratory, and Founding Director of the Bed Time Research Institute at the
University of Illinois at Urbana-Champaign. He holds appointments in Industrial and Enterprise
Systems Engineering, Electrical and Computer Engineering, Mathematics, and the College of
Medicine. He has a B.Sc. and M.Sc. in Mathematics from McGill University and a Ph.D. in
Operations Research from Cornell University. He has served on the faculties at Case Western
Reserve University (Weatherhead School of Management, 1988-1993), Virginia Tech (Industrial
and Systems Engineering, 1993-1999), and the University of Illinois (1999-present). He served
as a Program Director at the National Science Foundations (Engineering Directorate) from
2012-2014.
He has published 198 peer-reviewed articles, 11 book chapters, 50 conference proceeding
papers, over 220 professional/editorial publications, and delivered over 510 presentations,
seminars and posters at conferences, universities, and research laboratories around the world.
He has directed 25 Ph.D. dissertations and been awarded over $5M of research support from
the National Science Foundation and the Air Force Office of Scientific Research.
As the Director of the Bed Time Research Institute, he spearheaded the creation of two
research videos (“A Healthy Collaboration: Pediatric Immunization and Operations Research”,
“Aviation Security: Researching the Risk.”) and launched three websites all designed to
communicate the value of basic and applied research through Broader Impact activities, and
promulgate STEM activities for enhancing and growing a technically literate citizenry.
(http://bracketodds.cs.illinois.edu,
http://electionanalytics.cs.illinois.edu,
http://drivingobesity.cs.illinois.edu),
He has made several seminal research contributions, all focusing on applying operations
research and advanced analytics to address societal problems of national interest. He launched
the research field, aviation security analytics, demonstrating how probabilistic models,
optimization, and artificial intelligence can be used to improve the performance of aviation
security systems. His research on multi-level aviation security passenger screening at airports
was the precursor to risk-based security, providing the foundational concepts that informed the
design and implementation of TSA Precheck©. His contributions have been recognized with
numerous awards, including a 2003 Guggenheim Fellowship and the 2018 INFORMS Impact
Prize, given biennially to recognize widespread impact of operations research. His research on
the design of pediatric vaccine formularies introduced the use of operations research in the
pediatric immunization domain. His research on bridging obesity, transportation, and fuel


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consumption established the impact of transportation on obesity, providing the foundation for
non-medical obesity interventions based on modes of transportation. His research on
computational redistricting demonstrates how optimization-based AI can be used to combat
gerrymandering by creating a transparent environment for designing and evaluating district
maps.
His research has been widely reported and communicated in the national press, including the
Washington Post, the Chicago Tribune, the Los Angeles Times, and the Boston Globe,
editorialized in the New York Times, and discussed in Business Week, Forbes, Kiplinger, and
The Osgood Files on CBS radio. He has appeared on CNBC's Street Signs and The Closing
Bell, MSNBC’s Weekends with Alex Witt, Washington Post Radio, CBS This Morning, CNN’s
Situation Room with Wolf Blitzer, and CBC Canada News (television and radio), and BBC
World News (television and radio).
He has been recognized with numerous professional awards for his research and service
contributions. These include the George E. Kimball Medal (INFORMS) (2020), Saul Gass
Expository Writing Award (INFORMS) (2020), Omega Rho Plenary (2020), INFORMS Voluntary
Service Award (2020), INFORMS Impact Prize (2018), David F. Baker Distinguished Research
Award (IISE) (2017), Award for Technical Innovation in Industrial Engineering (IISE) (2010,
2013), Aviation Security Research Award (Aviation Security International) (2002), IIE
Outstanding Publication Award (2009), Award for Excellence in the Teaching of Operations
Research (IISE Operations Research Division) (2011), and a Guggenheim Fellowship (2003).
He is an elected Fellow of the American Association for the Advancement of Science (AAAS,
2020), the Institute for Operations Research and the Management Sciences (INFORMS, 2013),
and the Institute of Industrial and Systems Engineers (IISE, 2011).
His leadership acumen and technical expertise have been sought by both government and
professional societies. He briefed personnel within the Office of Science and Technology Policy
(in the executive Office of President George W. Bush) on 31 August 2002, on issues related to
aviation security research and the cost and benefit of checked baggage screening strategies.
He briefed the Advisory Committee on Immunization Practice (ACIP) on a web-site he co-
developed for designing optimal pediatric vaccine formularies at their October 2001 meeting in
Atlanta, Georgia. He has served on committees for the National Academies, including the
National Research Council Committee on Airport Passenger Screening: Backscatter X-Ray
Machines (2013-2015) and the National Academy of Medicine (NAM) Standing Committee for
the Centers for Disease Control and Prevention Division of Strategic National Stockpile (2015-
2017). He led the NSF-Funded workshop (May 2016), Setting a Broader Impacts Innovation
Roadmap, in creating new pathways for enhancing Broader Impacts in the Engineering
Directorate at the NSF. He served as the (elected) Treasurer for INFORMS (2015-2016), as a
panelist at the INFORMS 2019 Government & Analytics Summit, and as the INFORMS NSF
Liaison Chair (2019-2020).

EDUCATION
1988 Ph.D. (Operations Research & Industrial Engineering) Cornell University,
              Dissertation Supervisor: Dr. L.W. Schruben
1986 M.S.  (Operations Research & Industrial Engineering) Cornell University
1983 M.Sc. (Mathematics) McGill University, Thesis Supervisor: Dr. S. Zlobec
1981 B.Sc. (Mathematics) McGill University

EMPLOYMENT
8/2006-Present Professor, Department of Computer Science, University of Illinois at Urbana-
               Champaign. Director, Simulation and Optimization Laboratory.


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7/2012-8/2014 Program Director, Operations Research, National Science Foundation.
8/2002-8/2006 Professor, Willett Faculty Scholar, Department of Mechanical and Industrial
               Engineering, University of Illinois at Urbana-Champaign.
               Director, Simulation and Optimization Laboratory.
6/1999-8/2002 Associate Professor, Department of Mechanical and Industrial Engineering,
               University of Illinois at Urbana-Champaign.
               Director, Simulation and Optimization Laboratory.
8/1996-5/1999 Associate Professor, Department of Industrial & Systems Engineering, Virginia
               Tech. Director, Simulation and Optimization Laboratory.
8/1993-7/1996: Assistant Professor, Department of Industrial & Systems Engineering, Virginia
               Tech. Director, Simulation and Optimization Laboratory.
7/1988-6/1993: Assistant Professor, Department of Operations Research, Weatherhead School
               of Management, Case Western Reserve University.

APPOINTMENTS AND AFFILIATIONS
College of Engineering, Department of Computer Science (Primary) (2006-Present)
College of Engineering, Department of Industrial & Enterprise Sys. Engineering (2006-Present)
College of Liberal Arts and Science, Department of Mathematics (2001-Present)
College of Medicine, Department of Pediatrics (2006-Present)

AWARDS AND RECOGNITIONS
University of Illinois:
 Associate, Center for Advanced Study, University of Illinois, 2002-2003.
 Willett Faculty Scholar, College of Engineering, University of Illinois, 2002-2009.
 Aviation Security Research Award, sponsored by Aviation Security International, International
    Air Transport Association, and Airports Council International, (with J.E. Kobza), 2002.
 Best Paper Award, IIE Transactions Focused Issue on Operations Engineering, (with J.E.
    Kobza and A.E. Easterling), 2003.
 Guggenheim Fellowship, John Simon Guggenheim Memorial Foundation, 2003.
 Operations Research Meritorious Service Award, 2003.
 Award of Excellence (“College or University” and “Video News Release” Categories) for
    “Aviation Security: Researching the Risk,” 13th Annual Communicator’s Award Competition,
    (with WILL-TV), 2006.
 “List of Teachers Ranked as Excellent by their Students,” IE410/CS481: Stochastic Processes
    and its Applications, Fall 2006, Fall 2007, Fall 2008, Fall 2010.
  “List of Teachers Ranked as Excellent by their Students,” IE413/CS482: Computer
    Simulation, Spring 2006, Spring 2007, Spring 2008, Spring 2010.
 Finalist, INFORMS Health Applications Section Pierskalla Best Paper Award, 2004, 2007.
 Semi-Finalist, Christopher Columbus Foundation Homeland Security Award, 2005, 2007,
    2009.
 Outstanding IIE Publication Award, Institute of Industrial Engineers (with L.A. McLay), 2009.
 Award for Technical Innovation in Industrial Engineering, Institute of Industrial Engineers (with
    E.C. Sewell), 2010.
 Finalist (Runner-Up), Christopher Columbus Foundation Homeland Security Award
    (Transportation and Border Security), 2010.
 Fellow, Institute of Industrial Engineers, 2011.
 Award for Excellence in the Teaching of Operations Research, Institute of Industrial Engineers
    Operations Research Division, 2011.
 Honorable Mention, Best Paper Award, Computational Optimization and Applications, 2011.
 Finalist, INFORMS Public Sector Operations Research (with D.M. King, E.C. Sewell), Best
    Paper Award, 2012.


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 Semi-Finalist, INFORMS Innovations in Analytics Award, 2012.
 Award for Technical Innovation in Industrial Engineering, Institute of Industrial Engineers,
    2013.
 Fellow, Institute for Operations Research and the Management Sciences (INFORMS), 2013.
 University of Illinois Office of Public Affairs, Award for Communications & Marketing
    Excellence – Media Relations, 2013.
 Top-5 Papers (of 149) Published in Journal of Global Optimization in 2012 (Sewell, E.C.,
    Sauppe, J.J., Morrison, D.M., Jacobson, S.H., Kao, G.K., 2012, “Minimizing Total Tardiness
    for the Single Machine with Sequence Dependent Setup Time Problem Using the BB&R
    Algorithm,” Journal of Global Optimization, 54(4), 791-812).
 Best Research Poster (First Place), Association of Program Directors in Internal Medicine
    (APDIM) Spring 2014 Conference, “Annual Rotation Schedules in 45 Seconds: Simplifying
    Life for an Internal Medicine Residency Program,” coauthored with David R. Morrison, J.
    Taylor Fairbank, and Janet A. Jokela.
 David F. Baker Distinguished Research Award, Institute of Industrial & Systems Engineers,
    2017.
 Grainger Engineering Breakthroughs Initiative’s (GEBI) Founder Professor in Computer
    Science, 2017-2022.
 INFORMS Impact Prize (with K.C. Fletcher, L.A. Albert, A.G. Nikolaev, A.J. Lee) for their
    contributions to risk-based aviation security and its impact on the design of TSA PreCheck,
    2018.
 Honorable Mention, INFORMS Public Sector Operations Research (with R. Swamy, D.M.
    King), Best Paper Award, 2018.
 First Place, 2018 INFORMS Poster Competition (with R. Swamy, D.M. King), “Political
    Districting with Fairness Objectives: An Optimization-Based Framework.”
 First Place, 2019 Service Sciences Best Paper Award, INFORMS National Meeting (with R.
    Swamy,       D.M.    King), “Multi-Objective Optimization for Political Districting:
    A Scalable Multilevel Approach.”
 Fellow, American Association for the Advancement of Science (AAAS), 2020.
 Distinguished Speaker, Association for Computing Machinery (ACM), 2020-2023.
 Volunteer Service Award, Institute for Operations Research and the Management Sciences
    (INFORMS), 2020.
 George E. Kimball Medal, Institute for Operations Research and the Management Sciences
    (INFORMS), 2020.
 Saul Gass Expository Writing Award, Institute for Operations Research and the Management
    Sciences (INFORMS), 2020.
 Omega Rho Plenary Speaker, Institute for Operations Research and the Management
    Sciences (INFORMS) Fall 2020 National Meeting.
 Virginia Tech:
 Best Paper Award, Industrial Simulation Track, 1997 European Simulation Multiconference,
    Istanbul, Turkey (with K.A. Sullivan, A.W. Johnson).
 Application Award, 1998, Institute of Industrial Engineers Operations Research Division (with
    J.E. Kobza).
 Dean's List for Teaching, Spring 1999.
Cornell University:
 National Science and Engineering Research Council of Canada (NSERC) Graduate
    Scholarship (1983-1986).
 FCAC (Province of Quebec) Graduate Fellow (1983-1984).
 Forgivable Loan Program Award, General Electric Foundation (1986).



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       Case 4:17-cv-03962-HSG Document 433 Filed 03/07/22 Page 7 of 65
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McGill University:
 FCAC Graduate Fellow (1982-1983).
 NSERC Graduate Scholarship (1981-1983).
 NSERC Summer Undergraduate Research Fellowship (1980, 1981).
 Great Distinction (1981), Wolvin Scholarship (1980), Faculty Scholar (1980), University
   Scholar (1979, 1981), McConnell Awards (1978, 1979).
Other: Second Place in Canada, Actuarial Exam #1 (1980).

PROFESSIONAL AFFILIATIONS
Institute for Operations Research and the Management Sciences (INFORMS) (1988-Present)
    (Simulation Society, Computing Society, Health Care Applications Section)
Institute of Industrial Engineers (IIE)                                        (1994-Present)
American Society for Engineering Education (ASEE)                              (1998-Present)
Society for Industrial and Applied Mathematics (SIAM)                          (2000-Present)
American Association for the Advancement of Science (AAAS)                    (2015-Present)

PROFESSIONAL SERVICE AND ACTIVITIES
Associate Editor, Operations Research (2001-2005)
Guest Editor, IIE Transactions Special Issue on Homeland Security (2005-2006)
Senior Editor, Flexible Services and Manufacturing (2007-2009)
Editorial Board Member, Journal of Transportation Security (2007-Present)
Associate Editor, Int’l Journal of Applied Metaheuristic Computing (IJAMC) (2008-2016)
Focused Issue Editor, IIE Transactions, Operations Engineering and Analysis (2009-Present)
Associate Editor, Operations Research for Health Care (2011-2012)
INFORMS Speaker’s Program (1997-Present)
Reviewer, ACM Transactions on Modeling and Computer Simulation, Annals of Operations
  Research, Applied Mathematics and Computation, Complex Systems, Computers and
  Industrial Engineering, Discrete Event Dynamic Systems, European Journal of Operational
  Research, Health Care Management Science, IEEE Transactions on Automatic Control, IEEE
  Transactions on Evolutionary Computation, 2001 IEEE CSS Conference, IIE Transactions,
  INFORMS Journal on Computing, Journal of Global Optimization, Journal of Heuristics,
  Journal of the Operational Research Society, Management Science, Mathematical and
  Computer Modelling, Mathematical Programming, Mathematics of Operations Research,
  Naval Research Logistics, Operations Research, Operations Research Letters, Production
  and Operations Management, SIAM Optimization, Simulation, Winter Simulation Conference.
Invited Visiting Scholar, S.O.R.I.E., Cornell University (1989)
Reviewer, McGraw Hill Book Company (1994)
Treasurer, INFORMS College on Simulation (1994-1996)
Panelist, National Science Foundation, DMI-OR (1995)
Best Publication Award Committee, INFORMS College on Simulation (1997-1999) (Chair, 1998)
Industrial Affiliate Development Committee, INFORMS College on Simulation (1997)
Reviewer, Ohio Supercomputer Center (1989, 1991)
Reviewer, FCAR (Quebec Research Support Agency) (1994)
Reviewer, Air Force Office of Scientific Research (1995, 1998)
Reviewer, National Science Foundation EPSCoR Program (1996)
Reviewer, Army Research Office (1997)
Reviewer, National Science Foundation, Probability and Statistics (1998)
Reviewer, National Science Foundation, International Programs (1999)
Panelist, National Science Foundation, Exploratory Research on Eng. the Transport Ind. (2000)
Membership Committee, INFORMS College on Simulation (2000-2002)


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Panelist, National Science Foundation, Career Awards, DMII (2001)
Panelist, National Science Foundation, 9/11 Panel, DMII (2002)
Reviewer, Interdisciplinary Contest in Modeling, Consortium for Math. & Its Applications (2003)
Committee Member, INFORMS George C. Nicholson Student Paper Competition (2003, 2004)
Chair, Best Paper Award Committee, IIE Transactions Focused Issue on Oper. Eng. (2003)
Reviewer, Cooperative Grants Program, U.S. Civilian R&D Foundation (2003)
Reviewer, National Science and Engineering Research Council of Canada (2003)
Panelist, Transportation Security Administration, Boeing USCAP Review Panel (2004)
Reviewer, METRANS Research Center (2005)
Committee Member, INFORMS Health Appl. Society, Bonder Student Scholarship (2006, 2007)
Participant, NSF Healthcare Systems Engineering Workshop (2006)
Reviewer, Centers for Disease Control and Prevention Panel Review (2006)
Panelist, World Technology Evaluation Center (WTEC), International Assessment of Rapid
  Vaccine Manufacturing Study Group (2006-2007, 2009-2010).
OR/MS Today Advisory Committee, INFORMS, (2007-2008)
Panelist, National Science Foundation, Career Awards, DMII (2004, 2005)
Panelist, National Science Foundation, CDI-Type I Preliminary Proposals (2008)
Panelist, National Science Foundation, Career Awards, CMII (2008, 2011, 2018)
Panelist, National Science Foundation, CMII (2009, 2010, 2011, 2012)
Panelist, National Science Foundation, CBET (2010)
Panelist, National Science Foundation, EFRI (2010)
Panelist, National Science Foundation, CMMI (2011) (two panels)
Panelist, National Science Foundation, IGERT (2011)
Panelist, National Science Foundation, CMMI (2012) (two panels)
Panelist, National Science Foundation, CMMI (2018)
National Science Foundation Liaison to INFORMS (2012-2014)
Council Member (Elected), INFORMS I-SIM (2014-2015)
Committee Member, National Research Council, Committee on Airport Passenger Screening:
   Backscatter X-Ray Machines (2013-2015)
Committee Member, National Academy of Medicine (NAM) Standing Committee for the Centers
   for Disease Control and Prevention Division of Strategic National Stockpile (2015-2017)
Treasurer (Elected), Institute for Operations Research and the Management Sciences
   (INFORMS) (2015-2016).
Member, INFORMS Speakers Program Committee (2018-2019).
Review Committee, INFORMS Health Applications Society Pierskala Best Paper Award (2018).
Organizing Committee, National Academy of Medicine Workshop: Medical Product Shortages
   during Disasters: Opportunities to Predict, Prevent, and Respond (2018).
Chair, INFORMS Liaison to NSF (2019-2020).
Review Committee, INFORMS Public Service Operations Research Best Paper Award (2019).
Co-Chair: Communications Group, Big Ten Alliance for Strategic Partnership for Applied Redistricting
        Knowledge (SPARK).
Reviewer, Committee Report, National Academy of Medicine (NAM) (2020).
Dialogue on Social Justice, Wesley United Methodist Church (with J.A. Jokela, 2/13/2022)
General Chair, INFORMS 2022 National Meeting, Indianapolis, Indiana.

EDUCATIONAL ACTIVITIES
Courses Taught at the University of Illinois
      IE310          Introduction to Operations Research (B.S.)
      CS481/IE410 Stochastic Processes and its Applications (B.S./M.S.)
      CS482/IE413 Computer Simulation (B.S./M.S.)
      IE598          Special Topics in Stochastic Models and Simulation (Ph.D.)


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Courses Taught at Virginia Tech
       ISE3414          Probabilistic Operations Research (B.S.)
       ISE3424          Discrete Event Simulation (B.S.)
       ISE5424          Computer Simulation (M.S./Ph.D.)
       ISE6494          Advanced Simulation (M.S./Ph.D.)
Courses Taught at Case Western Reserve University
       OPRE425          Probability Theory in Operations Research (M.S./Ph.D.)
       OPRE432          Computer Simulation (M.S./Ph.D.)
       OPRE521          Queuing Theory (Ph.D.)
       OPRE525          Advanced Topics in Simulation and Time Series (Ph.D.)
       QUMM403          Managerial Statistics (MBA)
       QUMM405          Management Science (MBA)
Courses Taught at Other Universities
       OR260            Introduction to Probability (Cornell University) (B.S.)
       MATH111          Algebra and Trigonometry (McGill University) (B.Sc.)
Other Educational Activities
       University of Illinois
           Faculty Advisor, Alpha Pi Mu (2002-2006)
       Virginia Tech
           Advisor, MCM Undergraduate Team (1995)
           Faculty Advisor, INFORMS Student Chapter (1995-1996)
       Case Western Reserve University
           Faculty Advisor, ORSA/TIMS Student Chapter (1990-1993)
           Faculty Representative, Omega Rho (1990-1993)
           Faculty Coordinator, Student Recruitment Campus Visits by Faculty (1990-1993)
           Faculty Coordinator (joint), Dept. Student Recruitment Open House (1990-1993)

DEPARTMENTAL AND UNIVERSITY SERVICE
University of Illinois at Urbana-Champaign
    M&IE Strategic Planning (1999-2000)
    M&IE Advisory Committee (Elected) (2000-2004)
    M&IE Faculty Recruitment Committee (2000-2006)
    M&IE Social Committee (2000-2006)
    M&IE Undergraduate Program Committee (2004-2006)
    M&IE Department Head Search (2004-2005)
    C&EE Transportation Faculty Search (2005-2006)
    CS Director of Development (2007-2008)
    CS Promotion and Tenure (2006-Present)
Virginia Tech
    Director, Simulation and Optimization Laboratory (1993-Present)
    University Representative, Commonwealth Connection Tour (1996)
    ISE Department, Computers/Networks/Software (1994-1995, 1998-1999)
    ISE Department, Positioning Plan (1995)
    ISE Department, Personnel (1995-1999) (Chairman 1996-1999)
    ISE Department, Mentor Program Development (1995-1999)
    ISE Department, Promotion and Tenure (1996-1999)
    ISE Department, SCHEV Proposal Development (Chairman) (1996)
    College of Engineering, Numerical Methods (1994-1995)
Case Western Reserve University
    "Alumni Fund" Graduate School Telethon (1988-1989)
    Creator/Editor/Writer, OR NEWS, Department Alumni Newsletter, Issues 1-4 (1989-1993)


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   Quality Management (1989-1993)
   MBA Statistics and Management Science Curriculum (1988-1993)
   Ph.D. Curriculum (1988-1993)
   Seminar (1988-1991)
   Student Recruitment (1990-1993)
   Faculty Recruitment (1992-1993)
   WSOM Computer Usage (1989-1993)
   WSOM Research (1990-1992)

RESEARCH ACTIVITIES
Papers in Archival Journals
Computer Simulation Methodology and Modeling
1. Jacobson, S.H., Schruben, L.W., 1989, "Techniques for Simulation Response Optimization,”
    Operations Research Letters, 8(1), 1-9.
2. Jacobson, S.H., Buss, A.H., Schruben, L.W., 1991, "Driving Frequency Selection for
    Frequency Domain Simulation Experiments,” Operations Research, 39(6), 917-924.
3. Jacobson, S.H., 1993, "Variance and Bias Reduction Techniques for the Harmonic Gradient
    Estimator,” Applied Mathematics and Computation, 55(2&3), 153-186.
4. Jacobson, S.H., 1994a, "Optimal Mean Squared Error Analysis of the Harmonic Gradient
    Estimators,” Journal of Optimization Theory and Application, 80(3), 573-590.
5. Jacobson, S.H., 1994b, "Convergence Results for Harmonic Gradient Estimators,” ORSA
    Journal on Computing, 6(4), 381-397.
6. Jacobson, S.H., 1994c, "Second Derivative Estimation Using Harmonic Analysis,” Annals of
    Operations Research, 53, 507-531.
7. Jacobson, S.H., 1995a, "Analyzing the M/M/1 Queue in Frequency Domain Experiments,”
    Applied Mathematics and Computation, 69(2&3), 185-194.
8. Jacobson, S.H., 1995b, "How Difficult is the Frequency Selection Problem?” Operations
    Research Letters, 17(3), 139-147.
9. Jacobson, S.H., Yucesan, E., 1995, "Intractability Results in Discrete Event Simulation,”
    Recherche Operationelle, 29(3), 353-369.
10. Yucesan, E., Jacobson, S.H., 1996, "Computational Issues for ACCESSIBILITY in Discrete
    Event Simulation,” ACM Transactions on Modeling and Computer Simulation, 6(1), 53-75.
11. Jacobson, S.H., 1997, “The Effect of Initial Transient on Steady State Simulation Harmonic
    Gradient Estimators,” Mathematics and Computers in Simulation, 43(2), 209-221.
12. Yucesan, E., Jacobson, S.H., 1997, “The Complexity of Rapid Learning in Discrete Event
    Simulation,” IIE Transactions, 29(9), 783-790.
13. Jacobson, S.H., Schruben, L.W., 1999, "A Harmonic Analysis Approach to Simulation
    Sensitivity Analysis,” IIE Transactions, 31(3), 231-243.
14. Jacobson, S.H., Yucesan, E., 1999, “On the Complexity of Verifying Structural Properties of
    Discrete Event Simulation Models,” Operations Research, 47(3), 476-481.
15. Vazquez-Abad, F.J., Jacobson, S.H., 2001, "Phantom Harmonic Gradient Estimators for
    Priority Queueing Systems," INFORMS Journal on Computing, 13(4), 345-359.
16. Jacobson, S.H., Yucesan, E., 2002, "Common Issues in Discrete-Event Simulation and
    Discrete Optimization," IEEE Transactions on Automatic Control, 47(2), 341-345.
17. Swisher, J.R., Jacobson, S.H., Yucesan E., 2003, "Discrete-Event Simulation Optimization
    Using Ranking, Selection, and Multiple Comparison Procedures: A Survey," ACM
    Transactions on Modeling and Computer Simulation, 13(2), 134-154.
18. Swisher, J.R., Hyden, P.D., Jacobson, S.H., Schruben, L.W., 2004, " A Survey of Recent
    Advances in Discrete Input Parameter Discrete-Event Simulation Optimization," IIE
    Transactions, 36(6), 591-600.



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19. Smith, J.C., Jacobson, S.H., 2005, “An Analysis of the Alias Method for Discrete Random
    Number Generation,” INFORMS Journal on Computing, 17(3), 321-327.

Discrete Optimization Algorithms (Exact and Approximation)
1. Jacobson, S.H., Solow, D., 1993, "The Effectiveness of Finite Improvement Algorithms for
    Finding Global Optima,” Zeitschrift fur Operations Research (ZOR) -- Methods and Models
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    Estimators to a Priority Queueing System,” Proceedings of the 1994 Winter Simulation
    Conference, 369-376.
9. Jacobson, S.H., Morrice, D.J., 1994, "Teaching Simulation: A Panel Discussion,”
    Proceedings of the 1994 Winter Simulation Conference, 1378-1381.
10. Fleischer, M.A., Jacobson, S.H., 1995, "Cybernetic Optimization by Simulated Annealing: An
    Overview with Experimental Results,” First Metaheuristics International Conference
    Proceedings, 361-368.
11. Morrice, D.J., Jacobson, S.H., 1995, "Amplitude Selection in Transient Sensitivity Analysis,”
    Proceedings of the 1995 Winter Simulation Conference, 330-335.
12. Yucesan, E., Jacobson, S.H., 1995, "On the Simultaneous Construction of Sample Paths,”
    Proceedings of the 1995 Winter Simulation Conference, 357-361.
13. Jacobson, S. H., 1996, "Building and Analyzing Discrete Event Simulation Models of
    Complex Systems: A Computational Complexity Approach,” Proceedings of the 1996 NSF
    Design and Manufacturing Grantees Conference, 503-504.
14. Yucesan, E., Jacobson, S.H., 1996, “Simulated Annealing Heuristic for Accessibility,”
    Proceedings of the Second International Workshop on Mathematical Methods in Stochastic
    Simulation and Experimental Design, 21-27.
15. Jacobson, S.H., Morrice, D.J., 1996, “Analyzing the Temporal Association Between Health
    Disorders and Medical Treatments Using Probability Models and Monte Carlo Simulation,”
    Proceedings of the 1996 Winter Simulation Conference, 1176-1182.
16. Jacobson, S.H., 1997, “Heuristics for Discrete Event Computer Simulation Model Structural
    Problems,” Proceedings of the 1997 NSF Design and Manufacturing Grantees Conference,
    415-416.
17. Jacobson, S.H., Sullivan, K.A., Johnson, A.W., 1997, “Generalized Hill Climbing Algorithms
    for Discrete Manufacturing Process Design Problems Using Computer Simulation Models,”
    Proceedings of the 11th European Simulation Multiconference, 473-478.


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       Case 4:17-cv-03962-HSG Document 433 Filed 03/07/22 Page 32 of 65
02/28/22                                                                Sheldon H. Jacobson


    - Best Paper Award. Industrial Simulation Track.
18. Weniger, B. C., Jacobson, S.H., Sewell, E.C., Deuson, R., Chen, R.T., 1997, “Vaccine
    Selection Algorithm using Linear Programming to Minimize the Overall Cost of Disease
    Control through Immunization,” Proceedings of the 37th Interscience Conference on
    Antimicrobial Agents and Chemotherapy.
19. Swisher, J.R., Jun, J.B., Jacobson, S.H., Balci, O., 1997, “Simulation of the Queston
    Physician Network,” Proceedings of the 1997 Winter Simulation Conference, 1146-1154.
20. Jacobson, S.H., 1998, “Heuristics for Computer Simulation Discrete Manufacturing Process
    Design Optimization,” Proceedings of the 1998 NSF Design and Manufacturing Grantees
    Conference, 175-176.
21. Jacobson, S.H., Yucesan, E., 1998, “Using Accessibility to Assess the Performance of
    Generalized Hill Climbing Algorithms,” Proceedings of the 1998 Winter Simulation
    Conference, 761-768.
22. Jacobson, S. H., Armstrong, D.E., Vaughan, D. 1999, “A Survey of Generalized Hill Climbing
    Algorithms for Discrete Manufacturing Process Design Optimization,” Advanced Aerospace
    Materials and Processes Conference (AeroMat).
23. Kumar, A., Jacobson, S.H., Mohamed, Z.M., 1999, “Managing Critical Resources with
    Stochastic Consumption Rates,” Proceedings of the Decision Sciences Institute Annual
    Meeting.
24. Swisher, J.R., Jacobson, S.H., 1999, "Discrete-Event Simulation Optimization Using
    Ranking, Selection, and Multiple Comparison Procedures: A Survey," (State-of-the-Art
    Tutorial), Proceedings of the 1999 Winter Simulation Conference, 492-501.
25. Jacobson, S.H., 2000, “A Study of Local Search Strategies Using Generalized Hill Climbing
    Algorithms,” Proceedings of the 2000 NSF Design and Manufacturing Grantees Conference.
26. Kumar A., Jacobson, S.H., 2000, "Managing Critical Resources with Stochastic
    Consumption Rates," Manufacturing and Service Operations Management 2000 Conference
    Proceedings, 1-8.
27. Swisher, J.R., Hyden, P., Jacobson, S.H., Schruben, L.W., 2000, "A Survey of Simulation
    Optimization Techniques and Procedures," (State-of-the-Art Tutorial), Proceedings of the
    2000 Winter Simulation Conference, 119-128.
28. Jacobson, S.H., 2001, “On the Performance of Local Search Algorithms,” Proceedings of
    the 2001 NSF Design and Manufacturing Grantees Conference.
29. Henderson, D., Wakefield, R.R., Vaughan, D., Jacobson, S.H., 2001, " Optimal Earthmoving
    Vehicle Routes Using Local Search Algorithms," Perspectives on Innovation in Architecture,
    Engineering and Construction, Anumba, C.J., Egbu, C. and Thorpe, A. (eds), Proceedings
    of the 1st International Conference on 'Innovation In Architecture Engineering And
    Construction (AEC)', Loughborough University, United Kingdom, 555-565.
30. Vaughan, D.E., Jacobson, S.H., Armstrong, D.E., 2001, “Discrete Manufacturing Process
    Design Optimization using Simultaneous Generalized Hill Climbing Algorithms,” Proceedings
    of the 3rd International Conference on Intelligent Processing and Manufacturing of
    Materials.
31. Jacobson, S.H., Sewell, E.C., Weniger, B.G., 2001, “Using Monte Carlo Simulation to
    Assess the Value of Combination Vaccines for Pediatric Immunization,” Proceedings of the
    2001 Winter Simulation Conference, 1421-1428.
32. Jacobson, S.H., 2002, “Assessing the Performance of Generalized Hill Climbing Algorithms,”
    Proceedings of the 2002 NSF Design and Manufacturing Grantees Conference.
33. Kobza, J.E., Jacobson, S.H., 2003, “A Study of Aviation Access Control Security Systems,”
    Proceedings of the 2003 NSF Design and Manufacturing Grantees Conference.
34. Jacobson, S.H., 2003, “A Study of Local Search Strategies Using Generalized Hill Climbing
    Algorithms,” Proceedings of the 2003 NSF Design and Manufacturing Grantees Conference.



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35. Kobza, J.E., Jacobson, S.H., 2004, “A Study of Aviation Access Control Security Systems,”
    Proceedings of the 2004 NSF Design and Manufacturing Grantees Conference.
36. Jacobson, S.H., 2004, “A Study of Local Search Strategies Using Generalized Hill Climbing
    Algorithms,” Proceedings of the 2004 NSF Design and Manufacturing Grantees Conference.
37. Sewell, E.C., Jacobson, S.H., 2004, “Research on Designing Vaccine Formularies for
    Childhood Immunization,” Proceedings of the 2004 NSF Design and Manufacturing
    Grantees Conference.
38. Jacobson, S.H., Kobza, J.E., 2005, “A Study of Aviation Access Control Security Systems,”
    Proceedings of the 2005 NSF Design and Manufacturing Grantees Conference.
39. Jacobson, S.H., Sewell, E.C., 2005, “Research on Designing Vaccine Formularies for
    Childhood Immunization,” Proceedings of the 2005 NSF Design and Manufacturing
    Grantees Conference.
40. Jacobson, S.H., Kobza, J.E., 2006, “A Study of Aviation Access Control Security Systems,”
    Proceedings of the 2006 NSF Design, Service, and Manufacturing Grantees and Research
    Conference.
41. Jacobson, S.H., Sewell, E.C., 2006, “Pediatric Vaccine Formulary Design and Optimization,”
    Proceedings of the 2006 NSF Design, Service, and Manufacturing Grantees and Research
    Conference.
42. Jacobson, S.H., Hall, S.N., McLay, L.A., 2006, “Visiting Near-Optimal Solutions Using Local
    Search Algorithms,” Proceedings in Computational Statistics, Compstat 2006 (Editors, A.
    Rizzi, M. Vichi), Physica-Verlag, Springer, Heidelberg, Germany, 471-481.
43. McLay, L.A., Jacobson, S.H., Kobza, J.E., 2006, “Balancing Technology Capability
    Enhancement and Passenger Prescreening Information for Aviation Baggage Screening,
    Proceedings of Safe Skies Symposium, Washington, DC.
44. Jacobson, S.H., Sewell, E.C., Hall, S.N., 2008, “Analyzing the General Minimum Cost
    Vaccine Formulary Selection Problem," Proceedings of the 2008 National Science
    Foundation Engineering Research and Innovation Conference.
45. Jacobson, S.H., Sewell, E.C., Hall, S.N., 2009, “Maximizing the Effectiveness of a Pediatric
    Vaccine Formulary While Prohibiting Extraimmunization," Proceedings of the 2009 NSF
    Engineering Research and Innovation Conference.
46. Chan, W.K., Schruben, L.W., Nelson, B.L. Jacobson, S.H., 2009, “Simulation Fusion,”
    Proceedings of the 2009 Winter Simulation Conference.
47. Jacobson, S.H., McLay, L.A., Lee, A.J., 2011, “New Approaches for Airport Security
    Checkpoint Screening,” Proceedings of the 2011 NSF Engineering Research and Innovation
    Conference.
48. Lee, A.J., Jacobson, S.H., Cragoe, W.A., 2014, “NCAA basketball tournament analysis for
    high school mathematics,” ASEE Annual Conference and Exposition, Conference
    Proceedings.
49. Brailsford, S.C, Carter, M.W., Jacobson, S.H., 2017, "Five Decades of Healthcare
    Simulation”, Proceedings of the 2017 Winter Simulation Conference.
50. Sewell, E.C., Pavlik, J.A., Jacobson, S.H., 2019, “An Improved Meet in the Middle Algorithm
    for Graphs with Unit Costs,” Proceedings of the Twelfth International Symposium on
    Combinatorial Search (SoCS 2019).

Presentation, Seminars and Posters
Air Force Institute of Technology (1997, 2002, 2006, 2008, 2016)
Carnegie-Mellon University (1998, 2014)
Case Western Reserve University (1988, 1990, 1993, 1994, 1996, 1998-2000, 2013, 2015)
Clemson University (2019)
Cornell University (1986, 1987, 1995, 2011)
George Mason University (2002, 2013, 2020)


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Georgia Institute of Technology (1997, 2015)
Homeland Security Institute (2005)
Illinois Institute of Technology (2014)
Indiana University of Pennsylvania (1990)
INSEAD, European Institute of Business Administration (1994, 1996)
Iowa State University (2013)
Johns Hopkins University, Applied Physics Laboratory (2004)
Kansas University (1997)
Kent State University (1990)
Massachusetts Institute of Technology (2006, 2017)
New Jersey Institute of Technology (1998)
NASA Lewis Research Center, Cleveland, Ohio (1991)
Naval Postgraduate School (2001)
North Carolina State University (2008)
Northeastern University (1988, 2011)
Northwestern University (2002, 2007, 2015)
Ohio State University (1990)
Oklahoma State University (1998, 2014)
Old Dominion University (1996)
Pennsylvania State University (1988, 2016)
Purdue University (2007, 2009, 2011)
Rensselaer Polytechnic Institute (2008, 2012, 2013)
Rochester Institute of Technology (2009)
Rice University (2018)
Rose-Hulman Institute of Technology (2009)
Rutgers, the State University of New Jersey (2006)
Sandia National Laboratory (2003)
Schlumberger (Austin Research), Austin, Texas (1996)
Silicon Valley Illini Club (2008)
Southern Illinois University (Edwardsville) (1998, 2013)
Southern Polytechnic State University (1997, 1998)
Statistical and Applied Mathematical Sciences Institute (2012)
SUNY Stony Brook (2013)
Texas A&M University (2012, 2013)
Texas Tech University (2007)
United States Military Academy (1996, 2000, 2003)
University of Arizona (2001, 2003)
University of British Columbia (2010)
University of Buffalo (2011, 2019)
University of California (Berkeley) (2004)
University of Florida (2006, 2007, 2013)
University of Houston (2014)
University of Illinois (Urbana-Champaign) (1998, 2003, 2008, 2009)
University of Iowa (2008)
University of Kentucky (2019)
University of Michigan (1988, 1999, 2005, 2012, 2016)
University of Maryland (2000, 2006, 2007)
University of Massachusetts (2010)
University of Minnesota (1992, 2000, 2008, 2013)
University of Missouri (2019)
University of Montreal (1996)


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University of North Carolina (Chapel Hill) (1998, 2007)
University of Oklahoma (2010)
University of Pennsylvania (1996)
University of Pittsburgh (2005, 2011)
University of South Florida (2013)
University of Southern California (2008, 2013, 2019)
University of Tennessee (2014)
University of Texas (Austin) (1993, 1996, 1999, 2001, 2004, 2013, 2016)
University of Washington (2014)
University of Wisconsin (2005)
Vanderbilt University (2003)
Virginia Tech (1993, 1995, 1996, 1997, 1998)
Washington University (St. Louis) (1992)
Xerox Corporation, Webster Research Center (2010)
1986,1991,1995,1997, 1999, 2000, 2002, 2004-2006, 2009-2010 Opt. Days, Montreal, Canada
1987-1990, 1992, 1994-2000, 2005 Winter Simulation Conference
1988-1994 ORSA/TIMS & TIMS/ORSA Joint National Meetings
1988, 1994, 2000 International Symposium on Mathematical Programming
1988 International Conference on Analysis and Optimization of Systems, Antibes, France
1994, 1999 Decision Sciences Institute Annual Meeting
1994 European Simulation Multiconference, Barcelona, Spain
1995-2016 INFORMS National Meetings
1995, 1998, 1999 AFOSR Electronic Prototyping Review Meeting, Dayton, Ohio
1995 First Metaheuristics International Conference, Breckenridge, Colorado
1995 Workshop on Industrial Systems Dynamics, Nantes, France
1996 National Science Foundation Design & Manufacturing Grantees Conference,
  Albuquerque, New Mexico
1996 Richmond/Tidewater INFORMS Chapter Meeting, Norfolk, Virginia
1996,2004 St. Louis Gateway INFORMS Chapter Meeting, St. Louis, Missouri
1996 AFOSR Electronic Prototyping Review Meeting, Athens, Ohio
1996 Second International Workshop on Mathematical Methods in Stochastic Simulation and
  Experimental Design, St. Petersburg, Russia
1997 National Science Foundation Design & Manuf. Grantees Conference, Seattle, Washington
1997 AFOSR Electronic Prototyping Review Meeting, Blacksburg, Virginia
1997 European Simulation Multiconference, Istanbul, Turkey
1997 INFORMS Applied Probability Conference, Boston, Massachusetts
1997 Interscience Conference on Antimicrobial Agents and Chemotherapy, Toronto, Canada
1998 National Science Foundation Design & Manuf. Grantees Conference, Monterey, Mexico
1999 Advanced Aerospace Materials and Processes Conference (Aeromat '99), Dayton, Ohio
1999 AFOSR Scientific Advisory Board Meeting, Dayton, Ohio
2000 National Science Foundation Design & Manuf. Grantees Conference, Vancouver, Canada
2000 SIAM Discrete Mathematics Conference, Minneapolis, Minnesota
2000 Military Operations Research Society Symposium, Colorado Springs, Colorado
2000 Manufacturing and Service Operations Management Conference, Ann Arbor, Michigan
2000 AFOSR Electronic Prototyping & New World Vistas – Disc. Math. Review, Orlando, Florida
2000 NEXTOR Annual Research Symposium, Washington, DC
2001 National Science Foundation Design & Manufacturing Grantees Conference, Tampa,
  Florida
2001 Fourth Annual Conference on Vaccine Research, Arlington, Virginia
2001 INFORMS International Meeting, Maui, Hawaii



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02/28/22                                                              Sheldon H. Jacobson


2001 International Conference on Innovation in Architecture, Engineering, and Construction,
  United Kingdom
2001 AFOSR Electronic Prototyping, Discrete Mathematics Review, Seattle, Washington
2001 Intelligence Processing and Manufacturing of Materials Conference, Vancouver, Canada
2001 Advisory Committee on Immunization Practice, Atlanta, Georgia
2002 National Science Foundation Design & Manufacturing Grantees Conference, San Juan,
  Puerto Rico
2002 National Immunization Conference, Denver, Colorado
2002 SIAM Optimization Conference, Toronto, Canada
2002 Institute of Industrial Engineers Annual Conference, Orlando, Florida
2002 Hawaii International Conference on Statistics, Honolulu, Hawaii
2002 AFOSR Electronic Prototyping, Discrete Mathematics Review, Sunnyvale, California
2002 SIAM Discrete Mathematics Conference, San Diego, California
2003 National Science Foundation Design, Service, & Manufacturing Grantees and Research
  Conference, Birmingham, Alabama
2003 First International Workshop on Optimization in Radiation Therapy
2003 National Immunization Conference, Chicago, Illinois
2003 Sixth Annual Conference on Vaccine Research, Arlington, Virginia
2003 Institute of Industrial Engineers Annual Conference, Portland, Oregon
2003 AFOSR Optimization and Discrete Mathematics Program Review, Estes Park, Colorado
2004 National Science Foundation Design, Service, & Manufacturing Grantees and Research
  Conference, Dallas, Texas
2004 Institute of Industrial Engineers Annual Conference, Houston, Texas
2004 SIAM Discrete Mathematics Conference, Nashville, Tennessee
2004 SIAM National Annual Meeting, Portland, Oregon
2004 AFOSR Optimization and Discrete Mathematics Program Review, Pasadena, California
2004 Tenth International Conference on Stochastic Programming, Tucson, Arizona
2005 National Science Foundation Design, Service, & Manufacturing Grantees and Research
  Conference, Phoenix, Arizona.
2005 National Immunization Conference, Washington, DC
2005 IEEE Conference on Technologies for Homeland Security: Advanced Sensors for
  Personnel, Baggage and Cargo Security, Boston, Massachusetts
2005 SIAM Conference on Optimization, Stockholm, Sweden
2005 Genetic and Evolutionary Computation Conference, Washington, DC
2005 17th Triennial Conference of the International Federation of Operational Research
  Societies, Honolulu, Hawaii
2005 AFOSR Optimization and Discrete Mathematics Program Review, St. Louis, Missouri
2005 Homeland Security Institute Workshop “Advancing Analytic Techniques in Deterrence
  Analysis – Workshop Plenary Meeting”, Washington, DC
2005 Winter Simulation Conference, Orlando, Florida (Keynote Speaker, Ph.D. Colloquium)
2006 National Immunization Conference, Atlanta, Georgia
2006 INFORMS Optimization Society Conference on Optimization and Health Care, San
  Antonio, Texas
2006 INFORMS Conference on OR/MS Practice, Miami, Florida
2006 Canadian Operations Research Society (CORS) National Meeting, Montreal, Canada
2006 Institute of Industrial Engineers Annual Conference, Orlando, Florida
2006 AFOSR Optimization and Discrete Mathematics Program Review, Pensacola, Florida
2006 INFORMS Manuf. & Service Operations Management Conference, Atlanta, Georgia
2006 SIAM Conference on Discrete Mathematics, Victoria, Canada
2006 National Science Foundation Design, Service, & Manufacturing Grantees and Research
  Conference, St. Louis, Missouri


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02/28/22                                                               Sheldon H. Jacobson


2006 COMPSTAT 2006, International Conference on Computational Statistics, Rome, Italy
2006 Safe Skies Symposium, Washington, DC
2007 INFORMS Computing Society Conference, Coral Gables, Florida
2007 National Immunization Conference, Kansas City, Missouri
2007 Workshop on Intl. Research & Development in Rapid Vaccine Manuf., Arlington, Virginia
2007-2011 AFOSR Optimization and Discrete Mathematics Program Review, Arlington, Virginia
2007 Institute of Industrial Engineers Annual Conference, Nashville, Tennessee
2007 Dallas/Fort Worth INFORMS Chapter Meeting, Dallas, Texas
2007 Metaheuristics International Conference, Montreal, Canada
2007 INFORMS International Conference, Rio Grande, Puerto Rico
2007 Sixth International Congress on Industrial and Applied Mathematics, Zurich, Switzerland
2007 Operating on Health Care: An Operations Research Symposium, Vancouver, Canada
2007 Opening Workshop on Risk Analysis, Extreme Events, and Decision theory, Statistical and
  Applied Mathematical Sciences Institute, Research Triangle Park, North Carolina
2008 National Science Foundation Civil, Mechanical, and Manufacturing Innovation (CMMI)
  Engineering Research and Innovation Conference, Knoxville, Tennessee
2008 INFORMS Opt. Soc. Conf. on Theory, Computation, & Emerging Applications, Atlanta,
  Georgia
2008 National Immunization Conference, Atlanta, Georgia
2008 INFORMS Manuf. & Service Operations Management Conference, College Park,
  Maryland
2008 SIAM Conference on Discrete Mathematics, Burlington, Vermont
2008 SIAM Annual Meeting, San Diego, California
2008 Joint Statistics Meeting, Denver, Colorado
2008 Northern California Symposium on Statistics & Operations Research in Sports, Menlo
  Park, California
2009 INFORMS Computing Society Conference, Charleston, South Carolina
2009 National Immunization Conference, Dallas, Texas
2009 Canadian Discrete and Algorithmic Mathematics Conference, Montreal, Canada
2009 IIE Research Conference Doctoral Colloquium, Miami, Florida
2009 CORS-INFORMS International Meeting, Toronto, Canada
2009 National Science Foundation (NSF) Civil, Mechanical and Manuf. Innovation (CMMI)
  Engineering Research and Innovation Conference, Honolulu, Hawaii
2009 INFORMS Applied Probability Conference, Ithaca, New York
2010 International Conference on Systems Analysis Tools for Better Health Care Delivery: A
  New Engineering/Health Care Partnership, Invited Plenary, Gainesville, Florida
2010 IIE Research Conference Doctoral Colloquium, Cancun, Mexico
2010 National Science Foundation, Arlington, Virginia
2010 SIAM Conference on Discrete Mathematics, Austin, Texas
2010 Twelfth International Conference on Stochastic Programming, Halifax, Canada
2010 AVSEC World 2010, Frankfurt, Germany
2011 National Science Foundation (NSF) Civil, Mechanical and Manufacturing Innovation
  (CMMI) Research & Innovation Conference, Atlanta, Georgia
2011 INFORMS Computing Society Conference, Monterrey, California
2011 National Immunization Conference, Washington, DC
2011 IIE Research Conference Doctoral Colloquium, Reno, Nevada
2011 INFORMS Health Care, Montreal, Canada
2011 INFORMS Simulation Society Research Workshop: Simulation in Complex Service
  Systems, Montreal, Canada
2011 Mayo Clinic Conference on Systems Engineering and Operations Research in Health
  Care, Rochester, Minnesota


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2011 Transportation Hazards and Security Summit: Looking Beyond the 10th Anniversary of
  9/11, Irvine, California
2011, 2015 New England Symposium on Statistics in Sports, Boston Massachusetts
2012 Joint Mathematics Meeting, Boston Massachusetts
2012 Transportation Research Board, Washington, DC
2012 World Vaccine Congress, Washington, DC
2012 National Science Foundation (NSF) Civil, Mechanical and Manufacturing Innovation
  (CMMI) Research & Innovation Conference, Boston, Massachusetts.
2012 Workshop on Comp. Sim. - Opportunities & Challenges, Fudan Univ., Shanghai, China.
2012 Workshop on Healthcare and Operations Research, SAMSI, RTC, North Carolina
2015 Euro OR Conference, Glasgow, Scotland
2015 CREATE-TSA Symposium on Aviation Security, Los Angeles, California
2015 Washington INFORMS Chapter, Washington, DC
2015 Rutgers Fourth Applied Probability Conference, New Brunswick, New Jersey
2016 Workshop on Broader Impact, National Science Foundation, Arlington, Virginia.
2016 SIAM Conference on Discrete Mathematics, Atlanta, Georgia
2017 Joint Mathematics Meeting, Atlanta, Georgia
2017 INFORMS Computing Society Conference, Austin, Texas
2018 Joint Mathematics Meeting, San Diego, California
2018 National Taiwan University - Illinois Forum, Taipei, Taiwan
2019 Big Ten Strategic Partnership for Applied Redistricting Knowledge (SPARK) Conference,
  College Park, Maryland
2019 INFORMS, Capitol Hill Outreach, Washington, DC
2019 American College of Physicians Spouses Program, Philadelphia, Pennsylvania
2019 INFORMS Government & Analytics Summit, Washington, DC
2019 Euro-OR Meeting, Dublin, Ireland
2019 Coles College Research Symposium (Keynote), Kennesaw State University, Atlanta,
  Georgia
2019 Big Data Ignite, Grand Rapids, Michigan
2021 University of Iowa Computing Conference (zoom)

Conference Committees, Sessions Organized and/or Chaired
1990 TIMS/ORSA Joint National Meeting, May 6-9, 1990, Las Vegas, Nevada, Sponsored by
  the TIMS College on Simulation, "Sensitivity Analysis."
1991 Winter Simulation Conference, December 8-11, 1991, Phoenix, Arizona,
  Software/Modelware Track Tutorial, "SIGMA Tutorial."
1993 TIMS/ORSA Joint National Meeting, May 16-19, 1993, Chicago, Illinois, Sponsored by the
  TIMS College on Simulation, "Simulation Sensitivity Estimation."
1993 Winter Simulation Conference, December 12-15, 1993, Los Angeles, California,
  Sponsored by the TIMS College on Simulation, Ph.D. Colloquium.
1994 TIMS/ORSA Joint National Meeting, April 24-27, 1994, Boston, Massachusetts,
  "Simulation Methods."
1994 Eur. Simulation Multiconf., June 1-3, 1994, Barcelona, Spain, "Performance Analysis."
1994 Winter Simulation Conference, December 11-14, 1994, Orlando, Florida, Advanced
  Tutorial Track (Nine Sessions).
1994 Winter Simulation Conference, December 11-14, 1994, Orlando, Florida, Sponsored by
  the TIMS College on Simulation, Ph.D. Colloquium.
1994 Winter Simulation Conference, December 11-14, 1994, Orlando, Florida, Panel Discussion
  (with D.J. Morrice), "Teaching Simulation: A Panel Discussion."
1995 Winter Simulation Conference, December 3-6, 1995, Washington, DC, Advanced Tutorial
  Track (Nine Sessions).


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1996 INFORMS National Meeting, May 5-8, 1996, Washington, DC, "Scheduling."
1996 Second International Workshop on Mathematical Methods in Stochastic Simulation and
  Experimental Design, June 18-21, 1996, St. Petersburg, Russia, Member of the International
  Organizing and Program Committee.
1996 INFORMS National Meeting, November 3-6, 1996, Atlanta, Georgia, “Health Applications.”
1996 Winter Simulation Conference, December 8-11, 1996, San Diego, California, "Discrete
  Optimization and Selection."
1997 AFOSR Electronic Prototyping Review Meeting, May 27-29, 1997, Virginia Tech,
  Blacksburg, Virginia, Host and Local Arrangement Organizer for Meeting.
1997 European Simulation Multiconference, June 1-4, 1997, Istanbul, Turkey, “Design,
  Validation, and Testing.”
1997 INFORMS Applied Probability Conference, June 30 - July 2, 1997, Boston,
  Massachusetts, “Stochastic Optimization Methodologies.”
1997 Winter Simulation Conference, December 7-10, 1997, Atlanta, Georgia, “Global
  Optimization via Simulation.”
1998 Third International Workshop on Mathematical Methods in Stochastic Simulation and
  Experimental Design, June 28 - July 3, 1998, St. Petersburg, Russia, Member of the
  International Organizing and Program Committees.
1999 Winter Simulation Conference, December 4-8, 1999, Phoenix, Arizona, “Simulation
  Optimization.”
2000 International Symposium on Mathematical Programming, August 7-11, 2000, Atlanta,
  Georgia, “Metaheuristics.”
2000 INFORMS National Meeting, November 5-8, 2000, San Antonio, Texas, “Algorithm Design
  for Discrete Optimization Problems.”
2002 Optimization Days, May 6-8, 2002, Montreal, Canada, “Metaheuristics I.”
2002 SIAM Conference on Optimization, May 18-22, 2002, Toronto, Canada, “Global
  Optimization.”
2002 Hawaii International Conference on Statistics, June 5-9, 2002, Honolulu, Hawaii,
  “Statistics.”
2002 INFORMS National Meeting, November 17-20, 2002, San Jose, California, Cluster
  Organizer, “Applications of Optimization Theory.”
2002 INFORMS National Meeting, November 17-20, 2002, San Jose, California, “Heuristic
  Programming Methods I.”
2002 Winter Simulation Conference, December 8-11, 2002, San Diego, California,
  Modelware/Software Track Coordinator (Nine Sessions).
2003 Winter Simulation Conference, December 7-10, 2003, New Orleans, Louisiana,
  Modelware/Software Track Coordinator (Nine Sessions).
2004 Optimization Days, May 10-12, 2004, Montreal, Canada, “Combinatorial Optimization”.
2004 SIAM National Annual Meeting, July 12-16, 2004, Portland, Oregon, “CP1 Contributed
  Session”.
2004 Winter Simulation Conference, December 4-8, 2004, Washington, DC, “Input Modeling.”
2005 Sixth Metaheuristics International Conference, August 22-26, 2005, Vienna, Austria,
  Program Committee.
2006 INFORMS Manufacturing and Service Operations Management Conference, June 19-20,
  2006, Atlanta, Georgia, Review Committee.
2006 INFORMS National Meeting, November 8-11, 2006, Pittsburgh, Pennsylvania, “Society
  and Energy.”
2007 Seventh Metaheuristics International Conference, June 25-29, 2007, Montreal, Canada,
  Program Committee.
2007 INFORMS International Meeting, July 8-11, 2007, Puerto Rico, Cluster Chair, “OR on the
  Edge”.


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2007 International Congress on Industrial and Applied Mathematics, July 16-20, 2007, Zurich,
 Switzerland, Session Chair, “Probability”.
2008 INFORMS Manufacturing and Service Operations Management Conference, June 5-6,
 2008, College Park, Maryland, Review Committee.
2008 COMPSTAT International Conference on Computational Statistics, August 24-29, 2008,
 Porto - Portugal, Review Committee.
2008 SIAM National Annual Meeting, July 7-11, 2008, San Diego, California, Session Chair,
 “Biological and Medical Models I”.
2010 Winter Simulation Conference, December 5-8, 2010, Baltimore, MD, “Epidemics and
 Agents.”
2012 SIAM Conference on Discrete Mathematics, June 19, 2012, Halifax, Canada, “Discrete
 Algorithms.”

VIDEO AND AUDIO PRODUCTIONS
“A Health Collaboration: Pediatric Immunization & Operations Res.,” Released 24 April 2006.
“Aviation Security: Researching the Risk,” Released 20 September 2006.
Oral History, Abraham Lincoln Presidential Library and Museum, Civics Education,
        “Computational Redistricting to Combat Gerrymandering.” Released 2 June 2021.

WEB SITE PRODUCTIONS
election08.cs.illinois.edu      Web site for predicting the outcome of the 2008 United States
                                Presidential Election (launched September 2008)
bracketodds.cs.illinois.edu Web site for assessing the likelihood of seed combination for the
                                NCAA Men’s D1 basketball Tournament (launched March 2012,
                                updated annual since 2013)
electionanalytics.cs.illinois.edu Web site for predicting the outcome of the 2012 United States
                                Presidential Election and which party will control the United States
                                Senate (launched June 2012, Updated June 2014, Updated May
                                2016. Updated May 2018)
drivingobesity.cs.illinois.edu Web site for assessing the impact of driving and caloric intake on
                                body mass index (launched January 2016).
redistricting.cs.illinois.edu   Web site featuring the redistricting research of the Institute for
                                Computational Redistricting (ICOR) (launched August 2019).

DISSERTATIONS/THESES DIRECTED
Ph.D. Dissertations Directed (25 Directed, 4 Currently)
M.A. Fleischer, "Assessing the Performance of the Simulated Annealing Algorithm Using
     Information Theory,” January 1994, United States Census Bureau, Washington, DC.
A.W. Johnson, “Generalized Hill Climbing Algorithms for Discrete Optimization Problems,”
     October 1996.
     - 1997 George E. Nicholson Student Paper Competition (INFORMS), Honorable
     Mention.
K.A. Sullivan, “A Convergence Analysis of Generalized Hill Climbing Algorithms,” May 1999,
     Consultant, Chicago, Illinois.
     - 1996 Women and Minority Award, INFORMS College on Simulation.
     - 1996 AFOSR Graduate Student Summer Research Fellowship Award.
D.E. Vaughan, “Simultaneous Generalized Hill Climbing Algorithms for Addressing Sets of
     Discrete Optimization Problems,” August 2000, Research Scientist, Los Alamos Research
     Laboratory, Los Alamos, New Mexico.
     - 2001 Paul E. Torgersen Graduate Student Research Excellence Award, Runner Up.
     - 2001 AAUW Postdoctoral Research Leave Fellowship, Runner up.


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      - 2002 IIE Pritsker Doctoral Dissertation Award Competition, Third Place.
D. Henderson, “Assessing the Finite-Time Performance of Local Search Algorithms,” April 2001,
      Academy Professor, Consultant, Louisville, Kentucky.
T. Aytemiz, “A Probabilistic Study of 3-SATISFIABILITY,” July 2001, Professor, School of
      Business and Political Science, Mersin University, Mersin, Turkey.
D.E. Armstrong, “A Local Search Algorithm Approach to Analyzing the Complexity of Discrete
      Optimization Problems,” May 2002, Research Scientist, Los Alamos Research Laboratory,
      Los Alamos, New Mexico.
       - 2001-2002 M&IE Alumni Teaching Fellow, University of Illinois.
L.A. (McLay) Albert, “Designing Aviation Security Systems: Theory and Practice,” May 2006,
      Professor, Department of Industrial Engineering, University of Wisconsin, Madison,
      Wisconsin.
       - 2002-2003 Ph.D. Thesis Initiation Fellowship, Program in Arms Control,
         Disarmament, and International Security (ACDIS).
       - 2003-2004 M&IE Alumni Teaching Fellow, University of Illinois.
       - 2005 M&IE Harper Safety Award, University of Illinois.
       - 2006 INFORMS Computing Society Student Paper Competition, Runner Up.
H. Kaul, “Topics in Stochastic Combinatorial Optimization and Extremal Graph Theory,” August
       2006 (co-advised with D. West), Professor, Department of Mathematics, Illinois Institute of
       Technology, Chicago, Illinois.
S.N. Hall, “The Design and Analysis of Pediatric Vaccine Formularies: Theory and Practice”
       August 2006.
      - 2006 M&IE Harper Safety Award, University of Illinois.
A.G. Nikolaev, “Stochastic Sequential Resource Allocation and Passenger Assignment in
       Aviation Security Systems” August 2008, Associate Professor, SUNY Buffalo, Buffalo,
       New York.
G.K. Kao, “Two Combinatorial Optimization Problems at the Interface of Computer Science and
       Operations Research” August 2008, Staff Researcher, Sandia National Laboratory.
R.A. Proano, “Strengthening the Sustainability of Pediatric Vaccine Supply by using Operations
       Research Methods” August 2008, Associate Professor, Rochester Institute of Technology,
       Rochester, New York.
A.J. Lee, “Optimality, Uncertainty, and Performance of Passenger Screening in Aviation
       Security Systems” May 2009, Director, Central Illinois Technology and Education
       Research Institute, Springfield, Illinois.
       - 2008-2009 Graduate Research Award, Program on Public-Sector Aviation Issues,
       sponsored by the Federal Aviation Administration and U.S. Department of
       Transportation.
       - 2009 INFORMS Transportation Sci. & Logistics Dissertation Prize (Honorable
       Mention).
M. Robbins, “Exploring Pediatric Immunization Markets Using Operations Research and Game
      Theory,” August 2010, Associate Professor, Department of Operational Sciences, Air
      Force Institute of Technology, Dayton, Ohio.
      - 2011 IIE Pritsker Doctoral Dissertation Award Competition, First Place.
D.M. King, “Graph Theory Models and Algorithms for Political Districting: An
      Approach to Inform Public Policy," May 2012, Lecturer, Department of IESE, University of
      Illinois, Urbana, IL.
      - 2009 College of Engineering Mavis Memorial Fund Scholarship, Univ. of Illinois.
      - 2010 College of Engineering Mavis Future Faculty Fellowship, Univ. of Illinois.
      - 2012 Finalist, Best Paper Award, INFORMS Section on Public Policy, Services and
       Needs).
      - 2012 Semi-Finalist, Advances in Analytics Award, INFORMS Analytics Society.


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      - 2013 IIE Pritsker Doctoral Dissertation Award Competition, Second Place.
G. Baharian, “Limiting Behavior of the Target-Dependent Stochastic Sequential Assignment
      Problems," August 2014.
B. Behzad, “Analysis of the United States Pediatric Immunization Market: A Game Theoretic
      Approach," May 2014, Assistant Professor, California State University, Long Beach.
      - 2013 Gilbreth Memorial Fellowship by the Institute of Industrial Engineers (IIE).
D.M. Morrison, “New Methods for Branch-and-Bound Algorithms," May 2014, Inverse Limit,
      Sacramento, CA.
J.J. Sauppe, “Balance Optimization Subset Selection: A Framework for Causal Inference with
      Observational Data,” August 2015, Assistant Professor, University of Wisconsin La
      Crosse.
A. Khatibi, “Generalized Sequential Stochastic Assignment Problems,” August 2017.
      - 2018 IISE Pritsker Doctoral Dissertation Award Competition, Second Place.
G. Yu, “Dynamic Online Resource Allocation Problems,” May 2018. Amazon, Boston, MA.
H.-Y., Kwon, “New Developments in Causal Inference Using Balance Optimization Subset
      Selection”, May 2018.
      - 2017 College of Engineering Mavis Future Faculty Fellowship, Univ. of Illinois.
W. Zhang, “Cyclic Best First Search in Branch-and-Bound Algorithms”, May 2020.
J. Pavlik, “Two Graph Problems: Bidirectional Heuristic Search and the Airplane Seating
      Assignment Problems,” July 2021, West Point.

M.S. Thesis/Projects Directed (12 Directed)
A.E. Simms, “A Stochastic Approach to Modeling Aviation Security Problems Using the
       Knapsack Problem,” June 1997 (co-advised with J.E. Kobza).
       - 1998 IIE Graduate Research (Master's Thesis) Award Competition, First Place.
J.R. Swisher, “Evaluation of the Design of a Family Practice Healthcare Clinic using Discrete-
       Event Simulation,” May 1999.
J.B Jun, “A Visual Simulation Life-Cycle of the Queston Physician Network,” May 1999.
J.E. Orosz, “Finite-time Performance Results for Static and Cyclical Simulated Annealing
       Algorithms,” May 2001.
J.M. Bowman, “Evaluating and Analyzing the Performance of Aviation Baggage Screening
       Security Systems,” August 2001.
J.L. Virta, “Three Essays on the Modeling and Analysis of Aviation Baggage Screening Security
       Systems,” August 2001.
V. Venkat, “Post-optimality Analysis for Multi-objective Optimization Problems,” October 2002
       (co-advised with J.A. Stori).
T. Karnani, “Engineering the Design and Analyzing the Economics of Pediatric Vaccine
       Formularies,” May 2003.
       - 2004 IIE Graduate Research (Master's Thesis) Award Competition, Second Place.
I. Shyryayev, “A Sensitivity Analysis of Matching Coin Game Strategies,” December 2004.
S. Dutta, “Applications of Balance Optimization Subset Selection,” August 2016.
Z. She, “Essays on the Relationship Between Public Transit usage and Obesity,” December
       2017 (co-advised with D.M. King).
K. Li, “Modeling and analyzing the NCAA Men’s Division I Basketball Tournament,” December
       2017.
M. Kelley, “Variations of Online Bipartite Matching,” May 2021.


SPONSORED RESEARCH (Over $5.0M)
National Science Foundation, Research Initiation Award, 9/1994 to 8/1998, "Building and
 Analyzing Discrete Event Simulation Models of Complex Systems: A Computational


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  Complexity Approach,” Division of Design, Manufacturing, and Industrial Innovation, DMI-
  9409266.
Air Force Office of Scientific Research, 2/1995 to 1/1998, "Building and Analyzing Discrete
  Event Simulation Models of Complex Manufacturing Systems: A Computational Complexity
  Approach,” Division of Mathematical and Computer Sciences, F49620-95-1-0124.
National Science Foundation (with H.D. Sherali), 9/1995 to 8/1996, "Engineering Research
  Equipment: Workstations for Computational Studies in Large-Scale Simulation and
  Mathematical Programming Research,” Division of Design, Manufacturing, and Industrial
  Innovation, DMI-9423929.
Air Force Office of Scientific Research, 2/1998 to 11/2000, “Discrete Manufacturing Process
  Design Optimization Using Generalized Hill Climbing Algorithms,” Division of Mathematical
  and Computer Sciences, F49620-98-1-0111.
Air Force Office of Scientific Research, 5/1998 to 5/2001, "AASERT - Optimal Discrete
  Manufacturing Process Design Optimization,” Division of Mathematical and Computer
  Sciences, F49620-98-1-0432.
Rowe Furniture and the Virginia Center for Innovative Technology (with J.E. Kobza), 2/1999 to
  7/1999, "A Simulation Study of New Layouts for a Furniture Manufacturing Facility."
Federal Aviation Administration, 7/1999 to 12/2000. “Deployment of Aviation Security
  Technologies,” DTFA01-99-C-00085.
National Science Foundation, 1/2000 to 1/2003, "A Study of Local Search Strategies Using
  Generalized Hill Climbing Algorithms," Division of Design, Manufacturing, and Industrial
  Innovation, DMI-9907980.
Air Force Office of Scientific Research (subcontracted through Austral Engineering and
  Software, Inc.) (with J.A. Stori), 10/2000 to 10/2001, “Software System for Criteria
  Management in Multi-Objective Optimization-Guided Design of Sequences of Materials
  Processes," Division of Mathematical and Space Sciences , F49620-00-C-0044.
Air Force Office of Scientific Research, 12/2000 to 11/2003, "Designing Optimal Generalized Hill
  Climbing Algorithms, with Applications to Discrete Manufacturing Process Design
  Optimization,” Division of Mathematical and Space Sciences, F49620-01-1-0007.
National Science Foundation (with John, E. Kobza), 9/2001 to 8/2006, “Collaborative Research:
  A Study of Aviation Access Control Security Systems,” Division of Design, Manufacturing, and
  Industrial Innovation, DMI-0114499, DMI-0211053.
Air Force Office of Scientific Research (subcontracted through Austral Engineering and
  Software, Inc.) (with J.A. Stori), 10/2001 to 7/2004, “Software System for Criteria Management
  in Multi-Objective Optimization-Guided Design of Sequences of Materials Processes," Division
  of Mathematical and Space Sciences , F49620-00-C-0044.
National Science Foundation (with Edward C. Sewell), 1/2003 to 6/2005, “Collaborative
  Research: Research on Designing Vaccine Formularies for Childhood Immunization,” Division
  of Design, Manufacturing, and Industrial Innovation, DMI-0222597.
Air Force Office of Scientific Research, 3/2004 to 2/2007, “A Heuristic Design Information
  Sharing Framework for Hard Discrete Optimization Problems,” Division of Mathematical and
  Space Sciences, FA9550-04-1-0110.
National Science Foundation (with Edward C. Sewell), 8/2005 to 7/2008, “Collaborative
  Research: Pediatric Vaccine Formulary Design and Optimization,” Division of Design,
  Manufacturing, and Industrial Innovation, DMI-0457176.
Air Force Office of Scientific Research, 3/2007 to 11/2009, “Finite-Time Performance of Local
   Search Algorithms: Theory and Application,” Division of Mathematical and Space Sciences,
   FA9550-07-1-0232.
National Science Foundation (with Wendy Cho) 7/2008 to 6/2009, “SGER-III-CXT: A
   Computational Approach to Zoning Analysis,” Division of Information & Intelligent Systems,
   IIS-0827540.


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National Science Foundation (with Wendy Cho, Edward C. Sewell), 7/2009 to 6/2012,
   “Collaborative Research: Shifting Paradigms: Causal Inference via Subset Selection,”
   Division of Social and Economic Sciences, SES-0849223. 6.
National Science Foundation, 8/2009 to 7/2013, “New Approaches to Protecting Transportation
  Infrastructure,” Division of Civil, Mechanical and Manufacturing Innovation, CMMI-0900226.
Air Force Office of Scientific Research, 7/2010 to 7/2013, "Optimal Dynamic Asset Allocation
   Problems: Addressing the Impact of Information Uncertainty and Quality,” Division of
   Mathematical and Space Sciences, FA9550-10-1-0387.
National Science Foundation, 8/2012 to 7/2017, “A Game Theoretic Approach to Pediatric
  Vaccine Pricing,” Division of Civil, Mechanical and Manufacturing Innovation, CMMI-1161458.
Air Force Office of Scientific Research, 2/2015 to 2/2018, " Optimal Dynamic Asset Allocation
  Problems: New Approaches for Managing Input Data Uncertainty,” Division of Mathematical
  and Space Sciences, FA9550-15-1-0100.
National Science Foundation, 3/2016 to 3/2018, “Workshop: Setting a Broader Impact
  Innovation Roadmap; Arlington, Virginia; May 2016” Division of Civil, Mechanical and
  Manufacturing Innovation, CMMI-1629955.
Air Force Office of Scientific Research, 3/2019 to 3/2022, "Optimal Real-time Decision-making
  in an Uncertain World,” Division of Information and Networks, FA9550-19-1-0106.

CORPORATE GIFTS
Alcoa Foundation (with C.P. Koelling), 10/1997 to 10/1999, $60,000 to support the ISE
  Computational Laboratory and the Simulation and Optimization Laboratory, Department of
  Industrial and Systems Engineering, Virginia Polytechnic Institute and State University.

CONSULTING
Biological and Popular Culture, Inc., Radford, VA (4/1996-12/1997).
Logicon, Fairfax, VA (1/1998-7/1999).
SmithKline Beecham Pharmaceuticals, Philadelphia, PA (1/2000-7/2000).
Austral Engineering and Software, Inc., Athens, OH (9/2000-5/2001).
Homeland Security Institute, Alexandria, Virginia (3/2006-10/2006).
Fish and Richardson, Philadelphia, PA (2/2015-8/2015).
Security Point Media (12/2017-Present)

CORPORATE BOARD ACTIVITIES
Scientific Advisory Board, Biopop Inc., Radford, Virginia (11/2000-12/2002).

SELECTED MEDIA COVERAGE AND OUTREACH
The papers "An Integer Programming Model for Vaccine Procurement and Delivery in the
National Childhood Immunization Program: A Pilot Study," (co-authored with Edward C. Sewell,
Robert Deuson, and Bruce G. Weniger) published in Health Care Management Science
(Volume 2, Number 1, January 1999) by Baltzer Science Publishers, and "Addressing the
Challenges to Immunization Practice with an Economic Algorithm for Vaccine Selection," (co-
authored with Bruce G. Weniger, Robert T. Chen, Edward C. Sewell, Robert Deuson, J.R.
Livengood, and W.A. Orenstein) published in Vaccine (Volume 16, Number 19) by Elsevier
Science, received significant media coverage following a press release issued on December 21,
1998 by Virginia Polytechnic Institute and State University. Media coverage included
  Article, Hepatitis Weekly on 23 November 1998.
  Television news spot, WDBJ-7 (CBS affiliate in Roanoke, Virginia) on 17 December 1998.
  Radio news spot, Morning Edition, Virginia News Network, National Public Radio (NPR) on
 21 December 1998.


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    Article, Richmond Times - Dispatch on 24 December 1998.
    Article, Health Letter of the CDC on 11 January 1999.
    Article, Vaccine Weekly on 11 January 1999.
    Article, Journal of the American Medical Association (Quick Uptakes) on 27 January 1999.
    Article, Infectious Diseases in Children, Volume 12, Number 2, February 1999.
The paper “A New Neighborhood Function for Discrete Manufacturing Process Design
Optimization Using Generalized Hill Climbing Algorithms,” (co-authored with Diane E. Vaughan
and Derek E. Armstrong) published in ASME Journal of Mechanical Design (Volume 122,
Number 2, 164-171) was featured in an article on 20 October 2000 focusing on new directions
in manufacturing research in Advanced Manufacturing Technology.
Jacobson briefed the Advisory Committee on Immunization Practice (ACIP) on a web-site he co-
developed for designing optimal pediatric vaccine formularies at their October 2001 meeting in
Atlanta, Georgia (the ACIP is the nation’s primary advisory board on immunization issues,
providing guidance and advice to the Secretary of Health and Human Services).
The paper “Using Monte Carlo Simulation to Determine Combination Vaccine Price Distributions
for Childhood Diseases,” (co-authored with Edward C. Sewell) published in Health Care
Management Science (Volume 5, Number 2, April 2002) by Baltzer Science Publishers,
received media coverage following a press release issued on 8 April 2002 by the news bureau
at the University of Illinois. Media coverage included
    Article, UniSci, International Science News on 11 April 2002.
    Article, Immunization News on 12 April 2002.
    Article, IIE Solutions, Volume 24(6), June 2002, p.23.
    Article, Vaccine Weekly on 26 June 2002.
Jacobson (with John E. Kobza) briefed personnel within the Office of Science and Technology
Policy (in the executive Office of President George W. Bush) on 31 August 2002, on issues
related to their aviation security research on assessing the cost and benefit of checked baggage
screening strategies.
On 18 February 2003, Jacobson was a guest (with graduate student Laura A. McLay) on Focus
580 on public radio station WILL-AM580 (in Champaign, Illinois), to discuss our research
activities on aviation security. Focus 580 is a daily radio program that interviews newsmakers
and experts on national and international affairs.
The paper "Modeling Aviation Baggage Screening Security Systems: A Case Study," that
appeared in the March 2003 issue of IIE Transactions (Volume 35, Number 3, pages 259-269),
co-authored with J.L. Virta, J.M. Bowman, J.E. Kobza, and J.J. Nestor, was highlighted in
Research Reports in the February 2003 of Industrial Engineering, the monthly professional
magazine of the Institute of Industrial Engineers.
The paper “Pediatric Vaccine Stockpile Levels: How Much is Enough?” (co-authored with E.C.
Sewell, R.A. Proano, and J.A. Jokela) published in Vaccine (Volume 24, Number 17, 3530-
3537, 24 April 2006) by Elsevier Publishers, received media coverage following a press release
issued on 18 April 2006 by the news bureau at the University of Illinois. Media coverage
included over sixty web sites, newspapers, and professional magazines, including
        Reference on News-Medical.Net (Australia) on 19 April 2006.
        Reference on www.vaccinationnews.com on 18 April 2006.
        Reference on www.medications.com on 18 April 2006.
        Reference on www.healthcareindustrytoday.com on 20 April 2006.
        Reference on www.medicalnewstoday.com (England) on 20 April 2006.


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      Reference on www.worldwidehealth.com on 20 April 2006.
      Commentary on the Vaccine article posted on www.vaccineethics.org on 11 April 2006.
      Reference in NewsRx on 9 May 2006.
      Reference in World Disease Weekly on 9 May 2006.
      Reference in Life Science Weekly on 10 May 2006.
      Reference in Medical Letter on the CDC & FDA on 10 May 2006.
      Reference in Pharma Business Week on 10 May 2006.
      Reference in Vaccine Weekly on 10 May 2006.
      Reference in Health & Medicine Week on 11 May 2006.
      Reference in Biotech Law Weekly on 12 May 2006.
      Reference in Drug Week on 12 May 2006.
      Reference in Science Letter on 12 May 2006.
      Reference in Law and Health Weekly on 13 May 2006.
      Reference in Aging and Elder Health Week on 14 May 2006.
On 24 October 2006, the National Science Foundation (NSF) issued a press release (06-154) “
New Technologies Could Make Airport Screening More Effective and Less Cumbersome,”
which featured the video “Aviation Security: Researching the Risk.” (it can be viewed at
http://www.nsf.gov/news/news_summ.jsp?cntn_id=108133). This release provided the details
of an NSF hosted call-in program (held 28 September 2006) on the latest developments in
airport security.
The paper “The Economic Impact of Obesity on Automobile Fuel Consumption," published in
The Engineering Economist (Volume 51, Number 4, 307-323, October –December 2006) by
Taylor and Francis received media coverage following a press release issued on 24 October
2006 by the University of Illinois News Bureau, as well as an Associated Press news release on
25 October 2006. Media coverage included several hundred newspaper and magazine articles,
radio interviews and broadcasts, and television interviews and reports. Newspaper coverage
included the Washington Post, USA Today, The Chicago Tribune, the Los Angeles Times, and
the Boston Globe. Magazines included Business Week, Car and Driver, Forbes, Kiplinger,
Women’s Health, and Reader’s Digest. Several radio interviews and reports were aired,
including “Morning Edition” on National Public Radio, “The Osgood Files” on CBS Radio, and
two interviews on Washington Post Radio. Live TV interviews were also given, including “Street
Signs” on CNBC TV (on 27 October 2006), MSNBC TV (on 28 October 2006), and the “Closing
Bell” on CNBC TV (on 16 November 2006).
Jacobson appeared as an expert in the film documentary “Killer at Large” (produced by
Shinebox Media productions), which highlights the growing obesity epidemic and its impact on
society. The documentary was released in December 2007.
The paper “The Tradeoff between Technology and Prescreening Intelligence in Checked
Baggage Screening for Aviation Security,” that appeared in Journal of Transportation Security,
was featured in “A Minute with Sheldon Jacobson: How can better pre-screening make airports
safer?” on the University of Illinois web site on 14 February 2008.
The web site, http://election08.cs.uiuc.edu, spearheaded by Jacobson and his collaborators
generated wide spread media attention after the press release “Latest Electoral College
Forecast Shows McCain Ahead By as Many as 27 Votes,” was issued on 17 September 2008
by INFORMS. National media attention included references on MSNBC.com on 17 September
2008 (“Political Picks” Ask Again later”), by Carl Bialik (“The Numbers Guy”) in the Wall Street
Journal on 26 September 2008 (“Oy, a Potential Electoral Mess: The Chance of Another
Deadlock Is Greater Than You Think”) and in Random Samples in Science Magazine on 17
October 2008 (“The (B)Ayes Have It”).



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The article “Web Site Provides Pediatric Vaccine Pricing”, which appeared in the October 2008
issue of Managed Care (Volume 17(10), Page 48), a professional magazine for health care
administrators, featured research that was reported in the Jacobson and Sewell (2008) article in
Journal of the American Medical Informatics Association.
The article “A Shot in the Arm for Integer Programming” by Barry Cipra, which appeared in the
November 2008 issue of SIAM News (Volume 41, Number 9, pages 1,4) featured the pediatric
vaccine modeling and analysis research reported in the Hall et al. (2009) article in Operations
Research.
The paper “Seeding in the NCAA Men’s Basketball Tournament: When is a Higher Seed
Better?” published in Journal of Gambling, Business, and Economics, (Volume 3(2), 63-87)
received media coverage following a press release issued on 16 March 2009 by the University
of Illinois News Bureau. Media coverage included numerous on-line web news sites and
newspapers, including the Chicago Tribune, www.cnn.com, and the Pittsburgh Post-Gazette.
The paper "A Sequential Stochastic Passenger Screening Problem for Aviation Security," that
appeared in the June 2009 issue of IIE Transactions (Volume 41, Number 6, pages 575-579),
co-authored with L.A. McLay and A.G. Nikolaev, was highlighted in Research Executive
Summaries in the May 2009 issue of Industrial Engineering, the monthly professional magazine
of the Institute of Industrial Engineers.
The podcast, “Emergency! Pandemic”, which was produced by INFORMS and released on 5
September 2009, featured Jacobson discussing his research on pediatric immunization, vaccine
pricing, vaccine stockpiling, and pandemic response preparation.
Jacobson was featured on 2 October 2009, in Science Live on www.livescience.com, based on
his record of research contributions during his career.
“A Minute with aviation security expert Sheldon Jacobson: Racial versus behavioral profiling in
airport screenings”, was featured on 8 January 2010, on the University of Illinois web site.
Jacobson provided expert commentary featured in Will Profiling Make a Difference? on the New
York Times Room for Debate web site on 4 January 2010, after the 25 December 2009 terrorist
attempt to explode a bomb on the Delta flight from Amsterdam to Detroit. Other quotes by
Jacobson on this topic were reported at Media Matters for America and the Keene Sentinel.
The paper ““Evaluating the Impact of Legislation Prohibiting Hand-Held Cell Phone Use While
Driving,” published in Transportation Research Part A: Policy and Practice (Volume 44(3), 182-
193) received media coverage following a press release issued on 8 February 2010 by the
University of Illinois News Bureau. Media coverage included over one hundred on-line web
news sites and newspapers, including medicalnews.com, Research and Development
Magazine, and the Boston Globe.
The paper “Seeding in the NCAA Men’s Basketball Tournament: When is a Higher Seed
Better?” published in Journal of Gambling, Business, and Economics, (Volume 3(2), 63-87)
received media coverage following the article, “Professor of Bracketology: U of I computer
expert’s conclusion: ‘They call it madness for a reason’” in the Chicago Tribune on Sunday, 14
March 2010, and a press release issued on 16 March 2010 by the University of Illinois News
Bureau. Media coverage included live radio interviews on 670 The Score, WGN Radio, and the
Colin McEnroe Show on WNPR (Connecticut Public Radio), as well as numerous on-line web
news sites and newspapers, including msn.foxsports.com, cacm.acm.org, the Peoria Journal
Star, the Belleville News Democrat, and the Rockford Register Star, among others.
Jacobson provided expert commentary featured in How to Improve the N.C.A.A. Tournament on
the New York Times Room for Debate web site on 1 April 2010.


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“A Minute with aviation security expert Sheldon Jacobson: Changes to airport security screening
procedures” was featured on 5 April 2010, on the University of Illinois web site.
“A Minute with data expert Sheldon Jacobson: The impact of hand-held cell phone legislation on
driving safety”, was featured on 26 May 2010, on the University of Illinois web site.
“A Minute with aviation security expert Sheldon Jacobson: The future of airport security
screening,” was featured on 22 November 2010, on the University of Illinois web site.
Jacobson was a guest on several radio and television stations to discuss his research on
assessing the odds in the 2011 NCAA Men’s basketball tournament (WUIS Public Radio,
Springfield, IL; New Hampshire Public Radio; WBEZ, Chicago, IL, WILL Public radio,
Champaign,IL; WCIA-TV, Champaign, IL). Interviews were broadcasted between 9 March and
17 March 2011.
“A Minute with vaccine economics expert Sheldon Jacobson: The economics of pediatric
vaccine pricing,” was featured on 21 June 2011, on the University of Illinois web site.
The paper " Evaluating the Effectiveness of Sequential Aviation Security Screening Policies,"
which appeared in the August 2011 issue of IIE Transactions (Volume 43, Number 8, pages
547-565), co-authored with A.J. Lee, was highlighted in Research Executive Summaries in the
July 2011 issue of Industrial Engineering, the monthly professional magazine of the Institute of
Industrial Engineers.
The National Science Foundation (NSF) issued the press release (11-184), “From 9/11 to Now:
Lessons from the Tragedy," which featured Jacobson and his NSF supported research activities
in this area.
“A Minute with aviation Security expert Sheldon Jacobson,” was featured on 11 September
2011, on the University of Illinois web site. It discussed how aviation security has changed over
the past decade, and the future of aviation security.
Jacobson published an opinion letter in USA Today on 3 November 2011, responding to TSA
chats address limits of technology.
Jacobson appeared in the KCCI-TV (CBS affiliate, Des Moines, IA) news special report Airport
Insecurity, Part II on 18 November 2011.
A Minute with Sheldon Jacobson, expert on statistics related to travel, was featured on 19
January 2012, on the University of Illinois web site. It discussed how the recent leveling off of
obesity rates may be associated with the leveling off of how much Americans are driving.




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The paper “Addressing Passenger Risk Uncertainty for Aviation Security Screening,” published
in Transportation Science, (Volume 46) received media coverage following the new release
Risk-based passenger screening could make air travel safer, issued on 31 January 2012 by the
University of Illinois News Bureau, in conjunction with the National Science Foundation. Media
coverage included live radio interviews on radioislam.com (Chicago, IL), WFMB-AM 1450
(Springfield, IL), and WAND-TV (NBC Affiliate, Champaign, IL), as well as coverage on
numerous web news outlets.
A Minute with Sheldon Jacobson, on “March Madness”, was featured on 7 March 2012, on the
University of Illinois web site. It discussed the patterns in how the seeds advance in the NCAA
Division I Men’s basketball tournament. News coverage included the Chicago Tribune: Hoops
+/= Winners?, Business Week: My March Madness Picks (Or 'I Think Data Made Me a
Psychic'), Discovery News (via MSNBC.com): March Madness bracketology: The science,
GigaOM, and Bloomberg Businessweek.
Jacobson published an opinion letter in USA Today on 30 March 2012, about how the NCAA
men’s basketball tournament serves as a stimulus for young people interested in pursuing
careers in science, technology, engineering and mathematics.
Jacobson was quoted in the news article, “Republicans take aim at TSA, agency is inefficient,
too expensive,” published on 1 April 2012 in the Daily News Journal (Nashville, TN).
Jacobson was quoted in the news stories, “Texting while driving hard to enforce,” reported by
WLDS-WEAI News (Jacksonville, IL), and “Illinois Lawmakers Debate New Cell
Phone Restrictions,” reported by CBS (KMOX St. Louis) on 23 April 2012.
Jacobson was quoted in the Reuters news stories, “As America's waistline expands, costs soar”
on 30 April 2012. Over 120 national media outlet picked up the story, including MSNBC, CNBC,
Fox News, Huffington Post, Forbes, Baltimore Sun, Chicago Tribune, Orlando Sentinel, Sun
Sentinel, Toronto Sun, Edmonton Sun, Winnipeg Sun, Ottawa Sun, Calgary Sun, several public
and commercial radio stations, and others.
Jacobson was quoted in the Wall Street Journal Numbers Guy blog on 4 May 2012, “The
Waiting Game” on how long queues at international customs processing at London Heathrow
airport can be improved.
Jacobson was quoted in the Reuters news stories, “U.S. airport security could detect Qaeda
device: officials” on 8 May 2012 and “Would-be suicide bomber was U.S. informant” on 9 May
2012. Over 6000 national and international media outlets reported the story, including MSNBC,
CNBC, Chicago Tribune, Baltimore Sun, London Free Press, and others.
The news article "Automobiles can increase obesity, study says,” appeared in the Deseret News
(Salt Lake City, Utah) on 8 May 2012, featuring research that was reported in Jacobson, King,
and Yuan (2011).
The news article "RSOs prepare to inform students for Election Day using UI professor's
election prediction site,” appeared in the Daily Illini (Urbana, Illinois) on 22 August 2012,
featuring the election forecasting website, electionanalytics.cs.illinois.edu.
Jacobson was featured on 24 August 2012, on Science360 radio, www.science360.gov/radio,
based on his research contributions.




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A Minute with Sheldon Jacobson, on “Bracketology”, was featured on 11 March 2013, on the
University of Illinois web site. It discussed the patterns in how the seeds advance in the NCAA
Division I Men’s basketball tournament. News coverage included Bloomberg Business Week,
Time out Chicago Magazine, and WILL Radio Afternoon Magazine.
The article "Hang Up the Car Keys,” appeared in Cancer Today (Spring 2013, Volume 3(1),
page 57), features research on the interrelationship between caloric intake, automobile use, and
obesity, which was reported in Behzad, King, and Jacobson (2013).
A Minute WithTM Sheldon H. Jacobson, U. OF I Expert on Data Analytics was featured on 13
March 2014. In addition, The Bleacher Report featured four web videos: Crunching the Number
to Reveal the Biggest Potential Upsets in the West Region, Crunching the Number to Reveal
the Biggest Potential Upsets in the East Region, Crunching the Number to Reveal the Biggest
Potential Upsets in the Midwest Region, Crunching the Number to Reveal the Biggest Potential
Upsets in the South Region. USA Today: Dominate March Madness: Tips for a better bracket,
quoted Jacobson from the bracketodds web site.
The University of Illinois News Bureau issued the Press Release (17 April 2014), “Study
Recalculates the Cost of Combination Vaccines,” based on the paper “The Relationship
Between Pediatric Combination Vaccines and Market Effects,” which appeared in the American
Journal of Public Health.
The University of Illinois College of Medicine at Urbana released the story (14 May 2014),
“Computer Science Points to Holy Grail of Medical Scheduling,” based on research on how to
schedule residents in internal medicine residency programs. The joint research effort between
Jacobson and Janet A. Jokela, MD, has resulted in a software package, RESIDENT, which is
being alpha tested at the University of Illinois College of Medicine at Urbana internal Medicine
residency program.
Jacobson was quoted in the article, "Airports Have No Way to Screen for Ebola,” by Patrick
Tucker, which appeared on-line in the National Journal on 1 August 2014. Jacobson
commented on the challenges of screening for Ebola at airports, the similarities in such
screening with aviation security screening, and how prescreening can be an effective strategy in
such environments. The story was also featured in the Homeland Security Newswire on 4
August 2014.
The University of Illinois News Bureau issued the Press Release (2 September 2014), “Seatbelt
laws encourage obese drivers to buckle up,” based on the paper “Seatbelt usage: Is there an
association with obesity?” which appeared in the journal, Public Health. Coverage included
ABC Radio (plus many of its affiliate stations) (4 September 2014) and WCIA-TV 3 in
Champaign, IL (8 September 2014).
Invited to write the Op-Ed " Airports should be screening for Ebola the same way they screen for
terrorists,” for the Washington Post PostEverything blog on using aviation security screening to
prevent the spread of the Ebola virus in the United States (2 October 2014). This resulted in
being quoted in the Associate Press article, “Airports, airlines and Ebola: 5 things to know” (4
October 2014), being quoted in the commentary, “A Manhattan Project against Ebola” in the
Chicago Tribune (7 October 2014), a live interview on “Weekends with Alex Witt” on MSNBC (5
October 2014), an interview on WAND-TV (NBC, Decatur, IL, 5 October 2014), a live interview
on CBC Radio Canada “the Current” (6 October 2014), live interviews on HuffPost Live
(6,8,14,17 October 2014), a live interview on WTOP CBS Radio 103.5, Washington DC, 6
October 2014), an interview on WCIA-TV (CBS Champaign, IL, 6 October 2014), and a live
interview on CBC TV National News, Toronto, Canada, 11 October 2014).




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Jacobson was quoted in the article, “TSA seizes record number of guns from passengers in
2014,” in the Washington Times (4 January 2015).
Jacobson was quoted in the article, “Child vaccines out of reach for developing countries,
charity warns,” on CBC New Radio Canada (20 January 2015).
Jacobson’s research on obesity and its impact on fuel economy was quoted in the article
“Obesity Is Hurting the U.S. Economy in Surprising Ways on Bloomberg.com (4 March 2015)
and “Walking’s worth the (lack of) weight,” in the Pittsburgh Post-Gazette. (8 March 2015)
A Minute WithTM Sheldon H. Jacobson, U. of I Statistics Expert, A Method to March Madness,
was featured on 11 March 2015. See also, How to pick a winning NCAA Bracket (YouTube, 11
March 2015), NCAA Tournament 2015: Schedule, Picks, Tips for NCAA Bracket Success
(Bleacher Report, 16 March 2015), 12 Tips to Ensure A March Madness Bracket Victory
(Buzzfeed, 16 March 2015), How to Build the Perfect NCAA Bracket (Men’s Health, 17 March
2015), UI website uses 30 years experience for perfect brackets (CBS WCIA-TV3, 17 March
2015), and What to know: Facts, stats and nuggets about the 2015 NCAA tourney (CBS Sports,
17 March 2015).
Jacobson was quoted in the article, “How Not To Fix Airport Screening” by Patrick Tucker,
Defense One (2 June 2015). See also “The One Right Way to Solve the TSA Crisis Is Politically
Incorrect,” in the Fiscal Times (4 June 2015).
Jacobson is quoted on the spread of mumps on college campuses (8 October 2015) “College
campus outbreaks require timely public health response” in Infectious Diseases in Children.
A Minute WithTM Sheldon H. Jacobson, U. of I Data Science Expert, Why you should factor
driving into your weight loss plan, was featured on 8 January 2016.
A Minute WithTM Sheldon H. Jacobson, U. of I Professor of Computer Science, How to improve
your chances for a perfect March Madness, was featured on 9 March 2016.
A Minute WithTM Sheldon H. Jacobson, U. of I aviation security expert, What should be done
about long delays for security checks at airports? was featured on 17 May 2016.
“O’Hare middle of the pack for security fence breaches”, which appeared in the Chicago Daily
Herald (Marni Pyke) quotes Jacobson on the Associated Press report discussing airport security
fence breaches (25 May 2016).
“TSA PreCheck: Will it shorten security lines at airports?” which appeared in the Christian Science
Monitor (Lucy Schouten), quotes Jacobson on the benefits of TSA PreCheck (25 June 2016).
“After Istanbul, Here’s How Airport Experts Want to Protect You at the Curbside” which appeared
in Defense One (Patrick Tucker) quotes Jacobson on how security can be further hardened, in
response to Jeh Johnson’s (DHS Secretary) call for more security vigilance at airports and other
venues (30 June 2016). See also “How to Improve Airport Security in the Wake of the Istanbul
Attack” in the Fiscal Times (1 July 2016).
“Trump says Profiling has Protected Israel. It Probably Wouldn’t Work Here,” which appeared on
fivethirtyeight.com (Carl Bialik) quotes Jacobson on Israel security profiling and its impact in the
United States (28 September 2016).
“This U of I Forecast had Clinton’s chances at 100%. What went wrong?” covers the Election
Analytics program at the University of Illinois (Chicago Inno) (9 November 2016). See also
“How Chicago Tech can Help you Survive This Election” (2 November 2016); “Donald Trump
has a 0% Chance of Winning the Election, According to U of I Computer Scientists” (10 October
2016).



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“Making TSA PreCheck free can save TSA millions: Report” (Chicago Tribune; Mary
Wisniewski) quotes a recent study by Sheldon H. Jacobson, Arash Khatibi, and Ge Yu, on why
TSA PreCheck should be offered at no cost to high volume travels (5 December 2016). See
also “TSA could save money by waving PreCheck fees for frequent travelers, study finds,”
University of Illinois News Bureau (5 December 2016); “TSA would save millions if PreCheck
was free for all flyers, Illinois prof argues,” Chicago Business Journal (5 December 2016);
“Study Finds making PreCheck free could save millions,” CBS Radio WBBM, Chicago IL (5
December 2016); “U of I study says TSA could save money by waiving PreCheck program
fees,” ABC 7 Eyewitness News, Chicago, IL (5 December 2016); “Making TSA PreCheck free
could save millions of dollars, study suggests,” Los Angeles Times (5 December 2016); “TSA
should drop enrollment fee for PreCheck, Study finds,” Consumer Affairs (5 December 2016);
“TSA Could Waive $85 PreCheck Fee and Save Millions,” Vocative (6 December 2016).
“TSA Investigating Security Breach at JFK Airport” (CBS This Morning, New York, NY) quotes
Jacobson on the security breach at JFK airport (21 February 2017). See also “Impact of Airport
Attacks on Security” (WRBL CBS, Columbus, OH).
A Minute WithTM Sheldon H. Jacobson, U. of I Professor of Computer Science, Can data
analytics help you fill out a March madness bracket? was featured on 7 March 2017. See also
2017 NCAA Tournament: Stats facts to know to fill out a March Madness bracket (Matt
Norlander, CBS Sports) (14 March 2017), March Madness Bracket 2017: Betting Advice,
Historical Trends and Predictions (Paul Kasabian, Bleacher Report) (12 March 2017); How to
hack your March Madness bracket to win (Samuel Anderson, Best Life) (12 March 2017).
Jacobson delivered two BBC interviews (one radio, one television via skype) on the electronics
ban for overseas flights implemented by the DHS (21 March 2017). The radio interview was
carried nationwide on NPR (AM) on 21 March 2017. Was also quoted in What to know about
the new airline electronics ban (CBC Canada News, 21 March 2017), Here’s why the US is
banning larger electronics on some overseas flights (Katie Reilly, Time, 21 March 2017), Why
the airline’s electronics ban may not be discrimination (Patrick Reilly, Christian Science Monitor,
21 March 2017), and Clamping down on carry-on devices (CBC Canada News, 21 March 2017).
The University of Illinois issued the Press Release Study: Higher mass transit use is associated
with lower obesity rates, on 16 May 2017, based on the paper “Analyzing the impact of public
transit usage on obesity,” which appeared in the Preventive Medicine (Volume 99, pages 264-
268). See also Higher mass transit use linked with lower obesity rates (Amy Wallace, United
Press International, 17 May 2017), Mass transit linked to lower obesity rates in study (Mary
Caffrey, American Journal of Managed Care, 17 May 2017), What Scientists Found about
Losing Weight and Obesity after Observing how People use Public Transportation (Harold
Mandel, EmaxHealth, 17 May 2017), Using Public Transportation reduced obesity and makes
people healthier (Mihai Andrei, ZMEScience, 17 May 2017), All Aboard! Next Stop, Less
Obesity (Tom Jacobs, Pacific Standard Magazine, 17 May 2017), MTA can help you lose weight
(Ariel Scotti, New York Daily News, 17 May 2017), Using mass transit leads to drop in obesity
rates, study finds (Christopher Maynard, Consumer Affairs, 17 May 2017), Investing in mass
transit helps communities lower their obesity rates, study suggests (Susan Perry, MinnPost, 18
May 2017), The MTA can help you lose weight (John Daniels, The Informer, 17 May 2017),
Higher mass transit use linked with lower obesity rates (Charmaine Lamabao, NewsLine, 18
May 2017), Mass transit use correlates with obesity rates (Todd Gleason, Illinois Public Media
News, WILL-AM 580, 19 May 2017), Green Bay students get a free ride | Our view, (Green Bay
Press-Gazette, 20 May 2017), Community investment in transit can lower obesity rates,
(Missouri Public Transit Association, 26 May 2017).




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The University of Illinois issued the Press Release Mass killings happen randomly, yet rate has
remained steady, study finds, on 18 October 2017, based on the paper, “Random Acts of
Violence? Examining Probabilistic Independence of the Temporal Distribution of Mass Murders
in the United States,” which appeared in Victims and Violence. Volume 32(6), pages 1014-
1023). See also Study Finds Mass Killings Not On The Rise Over Past Decade (TV Report)
(Nancy Harty, CBS Chicago, 18 October 2017), Mass killings in the US happen randomly - but
at a steady rate for the last 10 years, study finds (Cheyenne Macdonald, Daily Mail (UK), 18
October 2017), U.S. Mass Killings Occurring at 'Uniform' Rate, Say Scientists (Peter Hess,
Inverse, 18 October 2017), Mass Killings are not Becoming More Common (John Hinderaker,
Powerline, 18 October 2017), Despite Vegas and Media Narrative, Mass Killings Aren’t on the
Rise “The data doesn’t lie.” (Trey Sanchez, Truth Revolt, 18 October 2017), Mass Shootings are
Not on the Rise, Study Shows (S. Noble, Independent Sentinel, 18 October 2017), New Study
Says Mass Murders are Not on the Rise in the U.S. (Warner Todd Huston, American News
24/7, 18 October 2017), Study finds no spike in mass killings over past decade (Nikki McGee,
Fox Illinois, 18 October 2017), The One Figure You Probably Haven’t Heard About Mass
Shootings (Jazz Shaw, Hot Air, 19 October 2017), Mass killings rate steady over past decade,
but totally random (Seth Augenstine, Forensic Magazine, 19 October 2017), Research Finds
Mass Killings Are Not on the Rise (Police Magazine, 19 October 2017), Study: Despite More
Coverage, Mass Killings Not Occurring More Often (Matt Masterson, Chicago Tonight, WTTW,
19 October 2017), U.S. Mass Killing Occurring at a ‘Uniform’ Rate (ACM Tech News, 19
October 2017), Mass killings happen randomly, yet rate has remained steady, study finds
(Victoria Ritter, Gears of Biz, 20 October 2017), Study Says Mass Killings are Hard to Predict
(Security Magazine, 23 October 2017), New Research Can Help First Responders (Grant
Stinchfield, NRATV, 24 October 2017), Comprehensive data shows mass shootings in America
have risen sharply (The Hill, 31 October 2017).
(11 January 2018) “Une conseil: en cas de tempete ne utilisez pas l’aeroporte JFK” (Maxime
Aubin, French Morning (New York)) reports commentary by Jacobson on the cause of the bomb
cyclone that struck New York JFK Airport.
(30 January 2018) DHS’s New Plan for Refugee Screening Looks a Lot Like TSA PreCheck
(Patrick Tucker, Defense One) reports commentary by Jacobson on how immigration screening
can be conducted using a program modeled after TSA PreCheck©.
(1 March 2018) If US states cannot fund their universities, they must stand aside, which
appeared in Times Higher Education, discusses the plight of public research universities and
offers two solutions,privatization or nationally funded consortia.
(5 March 2018) Who makes the NCAA tournament? Researchers at the University of Illinois can
help, based on the paper “Modeling the NCAA basketball tournament selection process using a
decision tree” published in the Journal of Sports Analytics (Volume 4, pages 65-71). See also
Will your team make or miss the NCAA Tournament? New study may already have the answer
(7 March 2018) March Madness Upset Prediction: New Method Using Publicly Available
Statistics Outperforms Other Techniques released by the American Statistical Association,
based on the paper “Identifying NCAA Tournament Upsets using Balance Optimization Subset
Selection,” published in Journal of Quantitative Analysis in Sport (Volume 13(2), pages 79-93.)
See also Saturday Science Edition (10 March 2018, The Daily Kos, Chitown Kev).
(9 March 2018) Interview on ESPN Radio 93.5 with Jacobson discussing the NCAA
Tournament field selection, bracket-building, and other tournament topics (Jeremy Werner
Show, begins at 27:30).




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(12 March 2018) NCAA Basketball: 2018 March Madness schedule, bracket – and how to win a
tournament pool as a newbie (Mic, James Dennin).
(12 March 2018) March Madness and Bracketology: Cheryl Raye Stout vs The Machine (WBEZ
Chicago Public Radio, Morning Shift with Tony Saraiba). See also Whose NCAA Bracket Did
Better: Cheryl Raye Stout vs The Machine (3 April 2018, WBEZ Chicago Public Radio, Morning
Shift with Tony Saraiba).
(12 March 2018) Science of Upsets: Prof has formula that doubles your shot (Associated
Press, Eddie Pells) appeared in numerous media outlets, both on-line and in print, including the
New York Times, Washington Post, ESPN, USAToday, FoxSports, and ABC News. See also
That smarts: Buffalo makes the computer look brilliant (16 March 2017, Associated Press, Eddie
Pells), NCAA tournament Winners and Loser: TruTV, Sister Jean, Thomas Jefferson and more
(19 March 2018, Chicago Tribune, Teddy Greenstein, Phil Rosenthal and Tim Bannon), and
Using machine learning in basketball brackets and beyond (Cisco News, Stephanie Chan).
(12 March 2018) March Madness: Analytics are making picking winning brackets easier
(USAToday, AJ Perez).
(3 April 2018) Technology holds the key to redistricting reform (Houston Chronicle, Jay K. Aiyer
(opinion)) draws on research by Jacobson to argue that artificial intelligence and algorithms can
help solve the problem of gerrymandering in drawing political boundaries.
(16 April 2018) Local firm Stats bets big on artificial intelligence to gather sports data (Chicago
Tribune, Ally Marotti) reports commentary by Jacobson on how artificial intelligence is impacting
the value of sports data.
(25 April 2018) Letter: Human error still a part of self-driving cars, which appeared in USAToday
(page 5A), discusses how self-driving cars remain subject to human error, through compliance
with the framework under which they must operate.
(25 September 2018) So Many Cars: Why American Life Expectancy Falls Short (Mises Wire,
Ryan McMaken) cites Jacobson’s research on the association between obesity and automobile
use.
(28 November 2018) Study: Public transportation use linked to better public health, which
discussed Sheldon H. Jacobson’s research on the association between obesity and public
transportation. was featured by Medical Xpress, mymedicalmantra, Daily Illini, de Beaumont
Foundation (in the news), and Science Magazine.
(29 January 2019) Lower obesity rates linked with public transportation use, study shows
(University of Illinois College of Engineering). Also appeared in Medical Xpress, Scienmag,
News Medical, Health Medicine Network, Courier Journal, Science Daily, The Asian Age,
Business Standard, Deccan Chronicle, The News Wheel, NDTV, Family Health Tale, Med
Public Health Management, Tree Hugger, AASHTO Journal, Friends of White Flint, Knowridge
Science Report, The Hindu, Fit Society (The Netherlands), About Cancer Service, Pour Quoi
Docteur (France), Aponet (Germany), GEO (Germany), Regenbogen (Germany), Today (Italy),
Maximitalia (Italy), Beritagar (Indonesia). See also Could riding the subway help you lose
weight? (29 January 2019, New York Post, Kirsten Fleming), Public transportation may help you
lose weight but speed of loss is complicated (30 January 2019, Interesting Engineering, Loukia
Papadopoulos), Public transportation could affect obesity rates (30 January 2019, Consumer
Affairs, Kristen Dalli), Boarding commercial vehicles to work ‘may lower’ obesity rates (30
January 2019, The Cable, Stephen Charles Kenechukwu), Want to lose weight? Give public
transportation a try (30 January 2019, Mobility Lab, Paul Mackie), Wanna shed those calories?
Try this new unheard trick! (30 January 2019, Prokerala, Paul Mackie), The use of public



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transportation is now directly linked to low obesity rates (31 January 2019, Industry Journal,
Aniket Tak), Anyone who travels by Bus or train, remains slim (1 February 2019, Family Health
Tale).
(17 March 2019) Op-ed, “Bracketology isn't just for March Madness. It can save lives, save
money and solve problems,” published by Jacobson on foxnews.com.
(18 March 2019) “Can analytics help you win your NCAA tournament pool? Don't bet on it”
(Michael Weinreb, Yardbarker) quotes Jacobson on the challenges of picking good brackets.
See also “Heart, loyalty and hunches: How people pick their NCAA brackets.” (Rich Trometta,
Northeastern University).
(20 March 2019) "Illinois professor creates women’s NCAA Tournament simulator," (Doug
Feinberg, Associated Press) features the Women’s Basketball tournament simulator launched
at bracketodds by Jacobson. The story appeared on-line and in print in numerous outlets,
including Washington Post, New York Times, Chicago Tribune, San Francisco Chronicle,
USAToday, Minneapolis Star Tribune, Daily Herald (Chicago), News Day, Charlotte Observer,
Seattle Times, Washington Times, Miami Herald, The Score, and others. See also “An Illinois
Professor has developed the first ever NCAA women’s Tournament simulator” (21 March 2019,
Vinciane Ngomso, Yahoo Sports) and “100 trips through a NCAA women’s bracket simulator”
(22 March 2019, Alex Simon, High Post Hoops).
(26 March 2019, Kevin Stankiewicz, Columbus Dispatch) “The Columbus man behind the last
remaining perfect NCAA bracket” quoted Jacobson on the likelihood of the remaining games
also being correct.
(3 April 2019, Michael Locklear, CBS 2 KUTV, Salt Lake City, UT) “Airport officials, TSA to talk
prevention following security breach, attack.” quotes Jacobson on security breach at Salt Lake City
International airport.
(9 July 2019, Coastal Daybreak with Ben Ball, WTKF FM107, Morehead City, NC) Interview with
Jacobson on the Supreme Court opinion on gerrymandering and how algorithms can be used to
address the problem.
(6 August 2019, Cleveland Daily Banner (TN), Tim Siniard), TRAFFIC! Walkable, bikeable cities
becoming future options quotes Jacobson’s research associating public transit usage with lower
obesity rates.
(17 August 2019, Anthony Lopez, Psychology Today) “Are Mass Shootings Becoming More
Common?” quotes Jacobson‘s research on trends in mass killing sin the United States.




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(20 January 2020, Kim Bellware, The Washington Post) “TSA reports record number of guns
caught at airport security checkpoints in 2019” quotes Jacobson on the TSA’s report of finding
firearms at airport security checkpoints. See also The Crime Report, The Anchorage Daily
News, The Philadelphia Enquirer, Seattle Times, The Boston Globe, Minneapolis Star Tribune,
SF Gate, Australian Financial Review, The Patriot Ledger, FairWarning.
(21 January 2020, Chloe Hadavas, Slate) “So How Concerned Should We Be That TSA Seized
Over 4,000 Guns Last Year?” quotes Jacobson on the TSA’s report of finding firearms at airport
security checkpoints. See also The Dallas Morning News.
(5 February 2020) “Bracketology 101: Five experts weigh in on Illini’s seed.“ mentions
Jacobson’s seed projection for the Illini on the bracketodds web site (Scott Richey, Champaign
News Gazette). See also Illinois men's basketball bracketology 101: 11 February 2020, Illinois
men's basketball bracketology 101: 26 February 2020, Bracketology 101: Illini moving up the
seed line: 3 March 2020, Illini Bracketology 101: Pay attention to the first four: 11 March 2020.
(3 March 2020) “CDC may lack contact information for some airline passengers possibly
exposed to coronavirus” quotes Jacobson on risks to passengers at airport security checkpoints
(Sam Mintz, Brianna Gurciullo, Politico).
(4 March 2020, Elise Sole, Yahoo News) “Coronavirus, Climate Change, Politics: How to Stay
Positive in a Negative News Cycle,” quotes Jacobson on how data and statistics can be looked
at in the right light.
(4 March 2020) “March Madness Bracket Analysis Shows Picking Final Four First Leads to
Better Brackets” issued by the American Statistical Association features research co-authored
by Jacobson in the Journal of Quantitative Analysis in Sports. See also Here’s how to win your
office March Madness pool, according to science (9 March 2020, John Anderer, The Ladders).
(18 March 2020, David Gutman, Seattle Times) “Inslee says now not the time for a coronavirus
‘shelter in place’ order in Washington” quotes Jacobson on the benefits and costs of
containment laws in the Seattle area.
(1 April 2020, Liz Ahlberg Touchstone, University of Illinois News Bureau) features Jacobson
discussing airport security during the coronavirus pandemic. See also Podcast: Sheldon
Jacobson on Aviation Security (Scott Beatty, WDWS, Champaign, IL, 2 April 2020), Brinkwire, 3
April 2020.
(18 April 2020, Scripps News Service) “Risk of Reopening the Country” features commentary by
Jacobson on issues to consider when reopening the country.
(20 April 2020, Robert Silk, Travel Weekly) "On the Record with Sheldon Jacobson” discusses
airport travel security during the coronavirus pandemic (page 2).
(27 April 2020, David Koenig, Associated Press) “As Fewer People Fly, Rate of Guns Found by
TSA in Bags Jumps” quotes Jacobson on why a higher rate of guns is being found by the TSA
at airport security checkpoints.
(15 May 2020, John Pletz, Crain’s Chicago Business) “Ready for another preboarding probe,”
quotes Jacobson on taking temperatures of passengers prior to boarding a plane at airports.
(15 May 2020, Larry Higgs, NJ.com) “Will Murphy’s Jersey Shore opening coax tourists out for a
summer road trip?” quotes Jacobson on how COVID-19 will impact summer vacation travel in
New Jersey.
(19 May 2020, Sam Sweeney, ABC WJLA7-TV, Washington, DC) “Post COVID-19 pandemic
transportation may include more school buses, lagged work hours,” quotes Jacobson on how work
travel and school hours may be impacted as the Washington, DC area reopens.


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(30 May 2020, Larry Higgs, NJ.com) “N.J. commuting will change forever as state slowly
reopens. Here’s what to expect.” quotes Jacobson on how COVID-19 will impact commuting
and public transportation.
(10 June 2020, John Pletz, Crain’s Chicago Business) “Now you'll have to pass a health
screening to fly United Airlines,” quotes Jacobson on taking temperatures of passengers prior to
boarding a plane at airports.
(16 June 2020, Daniel Monk, Brian Niesz, ABC WCPO9-TV, Cincinnati, Ohio) “Flight risk? I-
Team tracks local flights from COVID-19 hot zones” quotes Jacobson on Covid-19 risk when
flying from areas with high case loads.
(22 June 2020, Matt Zalalnick, University Business) "Why managing risk—and panic—is key to
keeping colleges open” quotes Jacobson on managing risk for colleges reopenings in the Fall.
(22 June 2020, Valerie Well, Herald and Review (Decatur, Illinois)) “Millikin's new president
coming home for final chapter of professional career” quotes Jacobson on space limitations on
college campuses that are incompatible with social distancing.
(28 June 2020, Scott Richey, Champaign News Gazette) “Ten burning questions for Illini
Basketball,” mentions Jacobson’s seed projection for the Illini in the 2021 college basketball
tournament.
(30 June 2020, Dennis Dodd, CBS Sports) "Coronavirus in college football: Hospitalizations,
deaths projected by data analysts if FBS plays in 2020” quotes Jacobson on projected deaths of
college football players if college football returns in the fall.
(1 July 2020, Howie Kussoy, New York Post) “Doctor suggest that players will die if college
season starts as planned” reports on Jacobson’s analysis of projected deaths of college football
players if college football returns in the fall.
(3 July 2020, Mark Lawrence, Horse Racing Insider) “Infectious Prospectous” summarizes
Jacobson’s analysis of Covid-19 deaths on college campuses in the fall.
(4 July 2020, Saturday Sports Talk with Steve Kelly and Loren Tate, WDWS AM1400,
Champaign, IL) Jacobson was a guest discussing the start of college football during the Covid-
19 pandemic (from 1:21:00 to 1:33:18).
(10 July 2020, NPR Illinois: Morning Edition) “Statewide: College towns and the Coronavirus”
Jacobson comments on the town-gown divide and how universities are bringing students back
in the fall in the midst of the Covid—19 pandemic (from 17:50 to 25:00).
(11 July 2020, Inside the Huddle with Ken Hartman, WILO 96.9FM, Frankfort, Indiana)
Jacobson was a guest discussing the start of college football during the Covid-19 pandemic (on
second half, from 3:11 to 19:11).
(19 July 2020, Gavin Good, 247Sports) “’Tremendous Responsibility’: Why Illini don’t release
COVID info” quotes Jacobson on the need to share Covid-19 testing data for the common good.
(22 July 2020, Deirdre Fernandes, Boston Globe) “UMass Amherst reopening plan draws sharp
criticism from town officials, residents” quotes Jacobson on town-gown relationships as
universities reopen in the fall.
(3 August 2020, Dennis Dodd, CBS Sports) “Professor whose alarming Covid-19 predictions
sparked #WeAreUnited movement now more optimistic” quotes Jacobson on risk to college
football players during Covid-19 pandemic.




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(5 August 2020, Emily Giambalvo, Robert Klemko, Washington Post) “College football players
fear stigma of sitting out could outlast pandemic” quotes Jacobson’s statistics on college football
player fatalities.
(10 August 2020, International Business Times, Marcy Kreiter) “Gun Seizures at US Airports
Triple Compared to Last Year Despite Drop in Air Travel, TSA Says” quotes Jacobson on
firearms detected at airports.
(10 August 2020, The Center Square, Kevin Bessler) “Professor warns that university towns in
Illinois vulnerable for COVID-19 spread” quotes Jacobson on the risk to small university town
residents when students return.
(11 August 2020, 247 Sports, Chris Hummer) “Professor who predicted multiple CFB deaths
revises calculation” quotes Jacobson’s data analysis on college football deaths.
(11 August 2020, National Public Radio, David Shaper) “TSA Finds 3 Times Usual Rate Of
Guns At Checkpoints, Despite Drop In Air Traffic” quotes Jacobson findings on firearms missed
at TSA airport checkpoints. See also (Robert Silk, Travel Weekly, 11 August 2020) “TSA says
guns found in carry-ons tripled in July.
(11 August 2020, Columbus Dispatch, Rob Oller) “We’re looking at a long, cold winter without
football to sustain us” quotes Jacobson’s data analysis on college football deaths.
(12 August 2020, Bloomington Herald Times, Indianapolis Star, Hoosier Sports Report, Jon
Blau) “Professor questions whether Big Ten needed to shut down fall sports” quotes Jacobson’s
data analysis on college football cancellation.
(13 August 2020, Cleveland.com, Nathan Baird) “Behind the Big Ten’s decision to cancel
football lurks this rare heart condition linked to coronavirus” quotes Jacobson’s data analysis on
college football deaths.
(15 August 2020, Minneapolis Star, Marcus Fuller) “Pros are proving the bubble can work; is
college basketball next?” quotes Jacobson on the value of team bubbles to facilitate playing
college basketball during the Covid-19 pandemic.
(16 August 2020, Lexington Herald Leader, Jerry Tipton) “Would playing a 2020-21 college
basketball season be a Titanic mistake?” quotes Jacobson on team bubbles for college
basketball.
(17 August 2020, The Verge, Nicole Wetsman) “College towns brace for a new wave of Covid-
19” quotes Jacobson on threats to local residents in college towns as student return to campus.
(17 August 2020, Journal Courier, Rochelle Eiselt) “Insider Exclusive: College towns could see
new wave of virus cases, Professor says” quotes Jacobson on the risk to college towns as
student return to campuses in the fall.
 (26 August 2020, Insider, Kelly McLauglin) “The University of Ilinois COVID-19 testing plan is
so aggressive that it accounts for 20% of the state’s tests” references statistics reported in the
Chicago Sun Times op-ed by Jacobson and Jokela.
(27 August 2020, Vanity Fair, Bomani Jones) “College football players are unpaid stars on the
field – and have no power off it” references Jacobson fatality risk for college football players.
(29 August, Fortune, Lee Clifford) “One university may have the best COVID testing operation in
the U.S. – and tests students twice a week” references statistics reported in the Chicago Sun
Times op-ed by Jacobson and Jokela.




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(3 September 2020, Crain’s Chicago Business, Jon Asplund) “Return of college students strains
COVID contact tracing in one place" quotes Jacobson on the challenges of contact tracing.
(5 September 2020, Salt Lake Tribune, Josh Newman) “Could Utah and the rest of the Pac-12
play the upcoming basketball season in a bubble?” quotes Jacobson on bubbles and pods for
enabling college basketball this year.
(15 September 2020) WAMC News Podcast – Episode 137 with Ian Pickus features Jacobson
on the opening of college campuses.
(16 September 2020. Chicago Tribune, John Kielman) “As other states play high school football,
Pritzker says COVID-19 makes the sport still too risky for Illinois” quotes Jacobson on the risks
of playing college and high school sports this fall.
(18 September 2020, Good Morning America, ABC Network, Gio Benitez) “Last minute deals
entice travelers” quotes Jacobson on the challenges of social distancing on airplanes.
(29 September 2020, New York Times, Janet Morrissey) “Using Technology to Tailor Lessons
to Each Student” quotes Jacobson on the value of technology-driven personalized learning.
(12 October 2020, The Morning Call, Michelle Merlin) “Kutztown university grapples with
pandemic exodus of 1,000 students, $3.5 million budget hit” quotes Jacobson on colleges
dealing with COVID-19 cases and the town-gown relationship.
(26 October 2020, NPR Marketplace Tech, Molly Wood) “Is the pandemic an opportunity for
more personalized learning?” features Jacobson on the future of artificial intelligence for
personalized learning.
(26 October 2020, KGO-TV7 (ABC), San Francisco, CA, Michael Finney, Randall Yip)
“Consumers worry about holiday delivery delays as shopping moves online amid pandemic”
quotes Jacobson on e-commerce shipping challenges during the holiday season.
(28 October 2020, Associated Press, Dave Collins) “Rising infections complicate rules for New
York-area travel” quotes Jacobson on state travel restrictions due to COVID-19.
(9 November 2020, New York Times, Shawn Hubler) "Thanksgiving Will Soon Empty
Campuses. Will Students Bring Coronavirus Home?” quotes Jacobson on students departing
college campuses for the holiday break.
(11 November 2020, KGO-TV7 (ABC), San Francisco, CA, Michael Finney, Randall Yip) “Fears
of holiday gift shortages may be unfounded," quotes Jacobson on the goods supply chain
remaining strong during the holiday season.
(19 November 2020, New York Daily News, Theresa Braine) “More people are dying in U.S. this
year than last year, even without COVID: studies” discusses Jacobson’s research on excess
Non-COVID-19 deaths, published in Public Health.
(30 November 2020, Diverse Issues in Higher Education, Autumn Arnett) “Experts Say Higher
Education Should Avoid Playing a ‘Numbers Game’ with COVID-19” quotes Jacobson on
COVID-19 risk on college campuses.
(30 November 2020, WTTW News (Chicago Public Television, Amanda Vinicky) “Study Finds
Rise in US Deaths Beyond COVID-19 in 2020,” reports on Jacobson’s research on excess Non-
COVID-19 deaths.
(15 December 2020, US News and World Report, Josh Moody) “Coronavirus and the College
Experience This Spring,” quotes Jacobson on the challenges in higher education during the
Spring 2021 semester.


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(16 December 2020, District Administration, Melissa Ezarik) “9 points about school decision-
making during COVID from a data expert,” provides comments by Jacobson on how to make
education decisions in a COVID-19 environment.
(18 December 2020, Travel Weekly, Robert Silk) “TSA has sped up airport tech deployments
since Covid," quotes Jacobson on the benefits of new technologies at airport security
checkpoints.
(12 January 2021, Retail and Hospitality Hub, John Krukowski) “Would an Amazon-Like
Approach Help the Vaccine Rollout?” quotes Jacobson on how to manage the COVID-19 supply
chain.
(27 January 2021, The Daily New York News) “Rising Infections make the principles for Touring
Within the New York Space Tough,” quotes Jacobson on state travel ban to prevent the spread
of COVID-19.
(27 January 2021, Simple Flying, Andrew Curran) “TSA Firearms Finds Reach Record Levels
Despite Travel Slowdown,” quotes Jacobson on TSA reporting higher catch rate for firearms at
security checkpoints. See also “TSA Firearm Detection Rate Doubled in 2020 – But Why?”
(Homeland Security Today, Kylie Bielby)
(28 January 2021, Reset, WBEZ Public Radio Chicago, IL) “Closing the gap on vaccine access
(Part 4)” interviewed Jacobson on the COVID-19 vaccine supply chain.
(31 January 2021, Champaign News Gazette, Matt Daniels) “Diving into Bracket Talk for the
Illini” provides commentary by Jacobson on college basketball, March Madness, and the Illini.
(1 February 2021, The Telegraph, Ed Grenby) “’COVID mindset’ blamed as gun seizures at US
airports doubles,” quotes Jacobson on the cause of higher firearm catch rates by the TSA at
airports.
(10 February 2021, Front Office Sports, Amanda Christovich) “College stadiums’ role in vaccine
distribution” quotes Jacobson on issues related to using sports stadiums for COVID-19
vaccination.
(20 February 2021, Saturday Sports Talk with Steve Kelly and Loren Tate, WDWS AM1400,
Champaign, IL) Jacobson was a guest discussing the impact of COVID-19 on the upcoming
NCAA Men’s basketball tournament.
(3 March 2021, University of Illinois Computer Science, Aaron Seidlitz) “Jacobson’s
Bracketodds research takes the madness out of March” discusses the research behind the
Bracketodds web site. See also
      (16 March 2021, 247 Sports, Jeremy Werner) “Podcast Episode 242, The Winning
       Formula” speaks with Jacobson discussing the analytics of picking winning brackets.
      (16 March 2021, Fox 32-TV Chicago) “Bracket Expert gives advice ahead of March
       Madness”speaks with Jacobson on trends in picking winning brackets.
      (17 March 2021, ABC 7-TV, Chicago, IL)
      (17 March 2021, WGN 720 Radio, Anna Davlantes, Chicago, IL) “Taking the madness
       out of your NCAA bracket” speaks with Jacobson about the analytics in March Madness.
      (18 March 2021, WLS 890 Radio, Bruce St. James Show, Chicago, IL) speaks with
       Jacobson about March Madness and bracketology.
      (18 March 2021, Study Finds, Ben Renner) “Win your March Madness bracket by filling
       out your Final Four first.”




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(10 March 2021, Front Office Sports, Amanda Christovich) “Will the March Madness semi-
bubble really be safe?” quotes Jacobson on the COVID-19 safety protocols in place during
March Madness.
(11 March 2021, Chicago Tribune, Joe Mahr) “During pandemic, Illinois saw 27% jump in
deaths, amongst worst in the US. One reason: There were two waves.” Quotes Jacobson in
excess deaths due to COVID-19.
(19 March 2021, WCIA 3-TV, Abigail Metsch, Champaign, IL) “Website founded by U of I
professor helps find ‘Bracket Odds’.”
(21 March 2021, City Journal, John Tierney) “Death and Lockdowns” quotes Jacobson on non-
COVID-19 excess deaths in the United States.
(24 March 2021, Eureka Alert, Institute for Operations Research and the Management
Sciences) “New Research finds seating assignments on airplanes can reduce the spread of
COVID-19” based on a paper that appeared in Service Sciences. See also
     (24 March 2021, FOX 32 TV Chicago, Anthony Ponce) “New research could make air
      travel safer amid pandemic.”
     (24 March 2021, News-Medical Life Sciences) “Seating assignments on airplanes can
      limit the risk of COVID-19 transmission.”
     (25 March 2021, Economic Times (Healthworld) “Seating assignments on airplanes can
      reduce spread of Covid-19, finds research.”
     (28 March 2021, Business Standard) “Social distancing in flight seat assignment can
      reduce Covid-19 spread.”
     (30 March 2021, Corporate Travel Community) “IATA has highlighted aircraft cabins are
      low-risk for virus spread, now new academic research concurs seating assignments on
      aircraft can limit the risk of COVID-19 transmission.”
     (30 March 2021, Contagion Live (Infectious Diseases Today), Jared Kaltwasser) “New
      modeling suggests optimal airplane seating to limit COVID-19 transmission.”
     (31 March 2021, WGN 720 Radio, Chicago, IL , Anna Davlantes) “Does blocking the
      middle seat on airplanes make passengers safer?”
(6 April 2021, The New American, Annalisa Pesek) “Reopening Schools: Are Parents Doing
their Homework?” quotes Jacobson on non-COVID-19 excess deaths.
(6 April 2021, KMBC-TV9 ABC, Kansas City, MO, Alan Shope) “Researchers believe the office
is going to look different when employees return” interviewed Jacobson on how businesses will
adjust when employees return to working on-site.
(12 April 2021, KCBS Radio, San Francisco, CA) “Ask An Expert with Stan Burger” features
Jacobson on how businesses are getting employees back to work.
(27 April 2021, Yahoo News 360, Mike Bebernes) “Should colleges require students to get the
COVID vaccine?” quotes Jacobson and Jokela’s oped that appeared in the Indianapolis Star on
8 April 2021.
(12 May 2021, Business Travel News, Dawit Habtemariam) “Suppliers Say Staffing Shortages
Dragging Recovery.” quotes Jacobson on how labor shortages are challenging the travel
industry’s recovery.
(13 May 2021, Lidovsky (Czech Republic) John Radek) “A good servant, but a bad master.
Cars make you fat, people don’t walk much.” Quotes Jacobson’s research linking obesity and
automobile use.




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(19 May 2021, US News, Joshua Moody) “Colleges Requiring a Coronavirus Vaccine for Fall.”
quotes Jacobson on the benefits of mandatory coronavirus vaccines for college students.
(26 May 2021, Christianity Daily, Sarah Mae Saliong) “Protesters Troop to Rutgers University to
Rally Against Mandatory COVID Vaccines.” quotes Jacobson on the benefits of mandatory
coronavirus vaccines for college students.
(10 June 2021, Washington Times, Andy Kostka) “Public health experts: Olympics can be held
safely, if changes are made.” quotes Jacobson on how the 2021 Tokyo Olympics can be held
with the threat of COVID-19.
(6 July 2021, WLS-890AM Radio, The Bruce St. James Show) “Will airports become a hotspot
of the COVID-19 Delta variant” featured Jacobson as a guest.
(9 July 2021, KMBC ABC9, Kansas City, MO, Alan Shope) “Professor: Bring COVD-19 vaccine
to tailgaters during football season” quotes Jacobson on the value of bringing vaccination
opportunities to football games.
(10 July 2021, The Michael Finney Show, KGO-AM 810, San Francisco, CA) “Beware of Travel
Scams” features Jacobson discussing how travel scams are the latest cyber security threats.
(12 July 2021, Off the Wall, 1490 AM, The Score, Joey Keeran) featured Jacobson (from 20:52
to 33:21) as their guest discussing the unintended consequences of NCAA NIL (names, images,
and likeness) policies.
(20 July 2021, The Pantagraph, Bloomington, IL, Lyndsay Jones) “Watch Now: Deaths were up
in the U.S., and McLean County, in 2020. Researchers hope to draw attention to reasons other
than COVID.
(23 July 2021, The Center Square, Scot Bertram) “Research shows deaths spiked early in
pandemic, but COVID-19 wasn’t only cause.”
(26 July 2021, WJPF Morning Newswatch, Carbondale, IL, Tom Miller) Interview with Jacobson.
(27 July 2021, HealthDay) “Deaths up in 2020, even when accounting for COVID-19”.
(29 July 2021, Scripps Washington Bureau, Maya Rodriguez) “Researchers examining spike in
deaths that were not COVID-related” featured research on non-COVID-19 deaths.
(12 August 2021, US News, Josh Moody) “Colleges requiring a Coronavirus Vaccine for Fall”
quotes Jacobson on how colleges will manage COVID-19 and vaccination requirements on
campus this Fall.
(13 August 2021, CBS News Market Watch, Megan Cerullo) “Unvaccinated workers could end
up paying $50 more for health insurance – per paycheck” quotes Jacobson on how
unvaccinated pay may pay higher health insurance premiums than those vaccinated.
(30 August 2021, Salt Lake City Tribune, Robert Gehrke) “Software can prevent
gerrymandering, but will Utah use it?” quotes Jacobson on how computational redistricting can
be used to expose gerrymandering.
(28 September 2021, Arkansas Democrat Gazette, Lara Farrar) “Double Doozie: Doctors brace
for impending flu season, dual outbreaks of covid, influenza” quotes Jacobson on the upcoming
seasonal influenza and its potential severity.
(12 October 2021, Editorial, Saltwire Network) “Thank you, Carey Price, for netminding mental
health.” quotes from Jacobson’s opinion in the Montreal Gazette.




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(1 December 2021, Yahoo News 360, Mike Bebernes) “Will travel bans help against Omicron?”
quotes the Jacobson and Jokela Op-Ed that appeared in The Hill on 29 November 2021.
(13 December 2021, WFMJ, NBC TV-21, Youngstown, OH, Matt Stone) “Is COVID ‘herd
Immunity’ still attainable” quotes Jacobson based on his essay that appeared in the Cleveland
Plain Dealer.
(17 December 2021, Washington Post, Katherine Shaver and Lori Aratani) “Millions plan to
travel for Christmas and New Year’s as omicron spreads.” Quotes Jacobson on travel risk with
omicron.
(21 December 2021, CNBC, Monica Pitrelli) “Rethinking your travel plans? If you go, experts
offer 4 pieces of advice” quotes Jacobson on air travel risks and precautions.
(23 December 2021, CNN, Situation Room with Wolf Blitzer, Brain Todd) “Health experts urge
air travelers to take precautions to avoid omicron.” quotes Jacobson on air travel risk.
(27 December 2021, Health Day, Robert Preidt) “Science shows safest plane seating to cut
COVID spread.” Also appeared in US News, UPI, Wisconsin State Journal, Richmond Times-
Dispatch, Northwest Indiana Times, Tulsa World, Roanoke Times, Kingsport Times News,
Montana Standard, Casper Star Tribune, Lincoln Journal Star. St. Louis Post Dispatch, Arizona
Daily Star, and many others.
(30 December 2021, Illinois Radio, Kim Howard) “New study out of U of I looks at the best ways
to prevent COVID-19 transmission on airplanes.”.”
(31 December 2021, Yahoo News, Michael Martin) “Places “swarming” with COVID, experts
say.” quotes Jacobson from his CNBC interview.
(1 January 2022, Eat This, Not That, Michael Martin) “Places you’re mostly likes to catch
omicron.” quotes Jacobson based on his CNBC interview on air travel risk.
(8 January 2022, Eye on Travel with Peter Greenberg) “Air Travel Risk” has Jacobson as a
guest discussing air travel and the associated risk with COVID-19 (1:30:00 to 1:45:20).
(10 January 2022, Illinois Radio Network, Scot Bertram) “Study offers tips to reduce COVID
transmission on airplanes.” Discusses Jacobson’s research on how to reduce COVID-19 risk
while flying.
(11 January 2022, Eat This, Not That, Michael Martin) “The #1 Place to Not Walk Into Now, Say
Virus Experts.” quotes Jacobson on the COVID-19 risks at airports.
(13 January 2022, The Tributary, Andrew Pantazi) “Jacksonville’s redistricting plan risks racial
gerrymandering claims, experts say” references Jacobson’s gerrymandering research.
(21 January 2022, Champaign News Gazette, Matt Daniels) “Bracketology talk about to heat
up.” Mentions Bracketodds web site projections for the NCAA basketball tournament.
(31 January 2022, Ace Mind, Benjamin Lloyd) “Obesity: public transport reduces the risk”
quotes Jacobson’s research on the association between obesity and automobile use.




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(1 February 2022, 1945, Jack Buckby) “$29 Trillion and Counting: Is the US Economy Headed
foir a Debt Crisis?” quotes Jacobson 25 January 2022 Op-Ed in The Hill.
(9 February 2022, Agriculture in America, Mike Pearson) Interviews Jacobson on his recent
essay that appeared in The Hill on the impact of higher interest rates on the federal budget and
the national debt (appears on the 9 February recording from 12:30 to 20:30).
(13 February 2022, The DePaulia, Jackson Healy) “Meddling in the midterms: How partisan
influence in U.S elections chip away at democracy” quotes Jacobson on how gerrymandering
weakens democracy.




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TESTIMONY IN CASES FOR PREVIOUS 4 YEARS

       The following is a list of all other cases in which, during the previous 4 years, I testified

as an expert at trial or by deposition:

By Deposition:

   •   SecurityPoint Holdings, Inc. v. U.S., Case No. 1:11-cv-00268 (Fed. Cl.).
